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    Fill in this information to identify your case:

       United States Bankruptcy Court for the:

       __________
        Delaware District of __________

       Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                               Chapter 11
                                                               Chapter 12
                                                            
                                                            X   Chapter 13                                                Check if this is an
                                                                                                                            amended filing


  Official Form 101
  Voluntary Petition for Individuals Filing for Bankruptcy                                                                                       12/15

  The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
  joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
  the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
  Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
  same person must be Debtor 1 in all of the forms.
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
  (if known). Answer every question.


  Part 1:       Identify Yourself

                                          About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):
  1.     Your full name
         Write the name that is on your
                                          Shelley
                                          __________________________________________________        __________________________________________________
         government-issued picture
                                          First name                                                First name
         identification (for example,
         your driver’s license or         __________________________________________________        __________________________________________________
         passport).                       Middle name                                               Middle name

         Bring your picture               Wilgus
                                          __________________________________________________        __________________________________________________
         identification to your meeting   Last name                                                 Last name
         with the trustee.                ___________________________                               ___________________________
                                          Suffix (Sr., Jr., II, III)                                Suffix (Sr., Jr., II, III)




  2.     All other names you              __________________________________________________        __________________________________________________
         have used in the last 8          First name                                                First name
         years
                                          __________________________________________________        __________________________________________________
         Include your married or          Middle name                                               Middle name
         maiden names.                    __________________________________________________        __________________________________________________
                                          Last name                                                 Last name

                                          __________________________________________________        __________________________________________________
                                          First name                                                First name

                                          __________________________________________________        __________________________________________________
                                          Middle name                                               Middle name

                                          __________________________________________________        __________________________________________________
                                          Last name                                                 Last name




  3.     Only the last 4 digits of                      9467 ____ ____ ____
         your Social Security             xxx    – xx – ____                                       xxx    – xx – ____ ____ ____ ____
         number or federal                OR                                                       OR
         Individual Taxpayer
         Identification number            9 xx – xx – ____ ____ ____ ____                          9 xx – xx – ____ ____ ____ ____
         (ITIN)

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Ironworks Bankruptcy Software v1.0
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              Shelley      Wilgus
Debtor 1      _______________________________________________________                                Case number (if known)_____________________________________
              First Name    Middle Name             Last Name




                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                         
                                          X I have not used any business names or EINs.                   
                                                                                                          X I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in               _________________________________________________               _________________________________________________
     the last 8 years                     Business name                                                   Business name

     Include trade names and
                                          _________________________________________________               _________________________________________________
     doing business as names              Business name                                                   Business name


                                          ___ ___ – ___ ___ ___ ___ ___ ___ ___                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                          EIN                                                             EIN

                                          ___ ___ – ___ ___ ___ ___ ___ ___ ___                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                          EIN                                                             EIN




5.   Where you live                                                                                       If Debtor 2 lives at a different address:



                                          _________________________________________________
                                             26080 Zoar Road                                              _________________________________________________
                                          Number     Street                                               Number     Street
                                             Georgetown, De 19947
                                          _________________________________________________               _________________________________________________


                                          _________________________________________________               _________________________________________________
                                          City                            State   ZIP Code                City                            State   ZIP Code

                                            Sussex
                                          _________________________________________________               _________________________________________________
                                          County                                                          County


                                          If your mailing address is different from the one               If Debtor 2’s mailing address is different from
                                          above, fill it in here. Note that the court will send           yours, fill it in here. Note that the court will send
                                          any notices to you at this mailing address.                     any notices to this mailing address.


                                          _________________________________________________               _________________________________________________
                                          Number     Street                                               Number     Street

                                          _________________________________________________               _________________________________________________
                                          P.O. Box                                                        P.O. Box

                                          _________________________________________________               _________________________________________________
                                          City                            State   ZIP Code                City                            State   ZIP Code




6.   Why you are choosing                 Check one:                                                      Check one:
     this district to file for
     bankruptcy                           
                                          X Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition,
                                             I have lived in this district longer than in any                I have lived in this district longer than in any
                                             other district.                                                 other district.

                                           I have another reason. Explain.                                I have another reason. Explain.
                                             (See 28 U.S.C. § 1408.)                                         (See 28 U.S.C. § 1408.)
                                             ________________________________________                        ________________________________________
                                             ________________________________________                        ________________________________________
                                             ________________________________________                        ________________________________________
                                             ________________________________________                        ________________________________________



Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2


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              Shelley      Wilgus
Debtor 1      _______________________________________________________                              Case number (if known)_____________________________________
              First Name    Middle Name             Last Name




Part 2:     Tell the Court About Your Bankruptcy Case


7.    The chapter of the                  Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                 for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                           Chapter 7
                                           Chapter 11
                                           Chapter 12
                                          
                                          X Chapter 13



8.    How you will pay the fee            
                                          X I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                             local court for more details about how you may pay. Typically, if you are paying the fee
                                             yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                             submitting your payment on your behalf, your attorney may pay with a credit card or check
                                             with a pre-printed address.

                                           I need to pay the fee in installments. If you choose this option, sign and attach the
                                             Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                           I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                             By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                             less than 150% of the official poverty line that applies to your family size and you are unable to
                                             pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                             Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                  
                                          X No
      bankruptcy within the
      last 8 years?                        Yes.    District __________________________ When      _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                    District __________________________ When      _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                    District __________________________ When      _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                  
                                          X No
      cases pending or being
      filed by a spouse who is             Yes.    Debtor _________________________________________________ Relationship to you       _____________________
      not filing this case with                     District __________________________ When      _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                    Debtor _________________________________________________ Relationship to you       _____________________

                                                    District __________________________ When      _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                    
                                          X No.     Go to line 12.
      residence?                           Yes.    Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                    residence?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                         this bankruptcy petition.



Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                    page 3


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                Shelley      Wilgus
Debtor 1        _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                X No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                
                                                X No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    
                                                X No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4


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                Shelley      Wilgus
Debtor 1        _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             X I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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Debtor 1
              Shelley    Wilgus
              _______________________________________________________                                   Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                X   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                           
                                           X No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                     No
      administrative expenses
      are paid that funds will be                      Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           X 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                            
                                           X $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                               
                                           X $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                                /s/ Shelley Wilgus
                                               ______________________________________________              _____________________________
                                              Signature of Debtor 1                                            Signature of Debtor 2
                                                           6/8/2017
                                              Executed on _________________                                    Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


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             Shelley      Wilgus
Debtor 1     _______________________________________________________                                Case number (if known)_____________________________________
             First Name    Middle Name             Last Name




                                         I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are            to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                       available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                         the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented               knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                         _________________________________
                                               /s/ Gerry Gray, 2742
                                                                                                             Date           _________________
                                                                                                                            6/8/2017
                                            Signature of Attorney for Debtor                                                MM    /   DD / YYYY



                                              Gerry Gray, 2742
                                            _________________________________________________________________________________________________
                                            Printed name

                                              Gerry Gray Law
                                            _________________________________________________________________________________________________
                                            Firm name
                                              PO BOX      549;
                                            _________________________________________________________________________________________________
                                             GEORGETOWN, DE 19947
                                            Number Street

                                            _________________________________________________________________________________________________

                                            ______________________________________________________ ____________ ______________________________
                                            City                                                   State        ZIP Code




                                                           3028564101
                                            Contact phone _____________________________________             Email address   ______________________________



                                            2742
                                            ______________________________________________________ ____________
                                            Bar number                                             State




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                               United States Bankruptcy Court
                                                                   Delaware
                               _______________ District Of _______________


In re

Shelley        Wilgus                                                                      Case No. ___________

                                                                                                    13
Debtor                                                                                     Chapter _________


                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the atto rn ey for the above-
   named debtor(s) and that compensation paid to me w ithin one year before the filing of the petition in
   bankruptcy, o r agreed to be paid to me, fo r services rendered or to be rendered on behalf o f the debto r(s)
   in contemplation of or in connection w ith the bankruptcy case is as follow s:
                                                                                                                                 4000.00
      For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                               4000.00
      Prior to the fi ling of this statem ent I have recei ved . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                               0.00
      Balance D ue . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2. The source of the compensati on paid to me w as:

              X    D ebtor                        O ther (specify)

3. The source of compensati on to be paid to me is:

               X D ebtor                          O ther (specify)

4.X       I have not agreed to share the above-disclosed compensation w ith any other person unl ess they are
          members and associates of my law firm.

          I have agreed to share the above-disclosed compensation w ith a other person or persons w ho are not
          members or associates of my law firm. A copy of the agreement, together w ith a list of the names of
          the people sharing in the compensation, is attached.

5. In return for the above-di sclo sed fee, I have agreed to render legal service for all aspects of the bankruptcy
   case, incl uding:

      a. Analysis of the debtor' s fi nancial situati on, and renderi ng advice to the debtor i n determining w hether
         to file a petiti on in bankruptcy;

      b. Preparation and filing of any petition, schedules, statements of affairs and plan w hich may be required;

      c. Representati on of the debtor at the meeti ng of cred itors and confi rm ati on heari ng, and any adj ourn ed
         hearings thereof;




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   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)


   d. Representation of the debtor in adversary proceedin gs and other contested bankruptcy matters;

   e. [Other provisions as needed]




6. By agreem ent w ith the debtor(s), the above-discl osed fee does not i ncl ude the follow ing services:




                                                 CERTIFICATIO N



         I certify that the foregoing is a complete statement of any agreement or arrangement for
      paym ent to me for representati on of the debtor(s) in this bankru ptcy p ro ceedings.


       6/8/2017                                /s/ Gerry Gray, 2742
      ___________________________            ___________________________________________________
                Date                                             Signature of Attorney

                                                Gerry Gray Law
                                             _____________________________________________________________
                                                               Name of law firm




                                                                        Created with Intuitive Legal LLC @ www.intuitive.legal
Debtor:
   Debtor: Shelley WilgusCase 17-11279-BLS                 Doc 1      Filed 06/08/17          Page 10 of 85
   Case Number:
Co-Debtor:
   Chapter: 13
Jurisdiction:
   Jurisdiction: Delaware
Chapter:



           Notice Required by 11 U.S.C. § 342(b) for
           Individuals Filing for Bankruptcy (Form 2010)


                                                                           Chapter 7:        Liquidation
            This notice is for you if:

                You are an individual filing for bankruptcy,
                                                                                     $245     filing fee
                  and                                                                 $75     administrative fee
                                                                           +          $15     trustee surcharge
                Your debts are primarily consumer debts.
                                                                                     $335     total fee
                  Consumer debts are defined in 11 U.S.C.
                  § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
                  primarily for a personal, family, or                     difficulty preventing them from paying their
                  household purpose.”                                      debts and who are willing to allow their non-
                                                                           exempt property to be used to pay their
                                                                           creditors. The primary purpose of filing under
                                                                           chapter 7 is to have your debts discharged. The
           The types of bankruptcy that are                                bankruptcy discharge relieves you after
           available to individuals                                        bankruptcy from having to pay many of your
                                                                           pre-bankruptcy debts. Exceptions exist for
           Individuals who meet the qualifications may file                particular debts, and liens on property may still
           under one of four different chapters of the                     be enforced after discharge. For example, a
           Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                           mortgage or repossess an automobile.
                Chapter 7 — Liquidation
                                                                           However, if the court finds that you have
                Chapter 11 — Reorganization
                                                                           committed certain kinds of improper conduct
                                                                           described in the Bankruptcy Code, the court
                Chapter 12 — Voluntary repayment plan
                              for family farmers or                        may deny your discharge.
                              fishermen
                                                                           You should know that even if you file
                                                                           chapter 7 and you receive a discharge, some
                Chapter 13 — Voluntary repayment plan
                              for individuals with regular                 debts are not discharged under the law.
                              income                                       Therefore, you may still be responsible to pay:
                                                                               most taxes;
           You should have an attorney review your                             most student loans;
           decision to file for bankruptcy and the choice of
                                                                               domestic support and property settlement
           chapter.
                                                                                obligations;




           Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1




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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2




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Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee
                                                                    debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
                                                                    certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3




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                                                                      A married couple may file a bankruptcy case
          Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                      case and each spouse lists the same mailing
          Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
          requires that you promptly file detailed information
                                                                      bankruptcy court generally will mail you and
          about your creditors, assets, liabilities, income,
          expenses and general financial condition. The               your spouse one copy of each notice, unless
          court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
          not file this information within the deadlines set by       each spouse receive separate copies.
          the Bankruptcy Code, the Bankruptcy Rules, and
          the local rules of the court.

          For more information about the documents and                Understand which services you
          their deadlines, go to:                                     could receive from credit
          http://www.uscourts.gov/bkforms/bankruptcy_form             counseling agencies
          s.html#procedure.
                                                                      The law generally requires that you receive a
                                                                      credit counseling briefing from an approved
                                                                      credit counseling agency. 11 U.S.C. § 109(h).
      Bankruptcy crimes have serious
                                                                      If you are filing a joint case, both spouses must
      consequences
                                                                      receive the briefing. With limited exceptions,
           If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
            assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
            under penalty of perjury—either orally or                 is usually conducted by telephone or on the
            in writing—in connection with a                           Internet.
            bankruptcy case, you may be fined,
            imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                      generally must complete a financial
            All information you supply in connection                 management instructional course before you
            with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
            examination by the Attorney General acting                case, both spouses must complete the course.
            through the Office of the U.S. Trustee, the
            Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
            offices and employees of the U.S.                         provide both the briefing and the instructional
            Department of Justice.                                    course from:
                                                                      http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
      Make sure the court has your                                    In Alabama and North Carolina, go to:
      mailing address                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/

      The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

      mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

      for Individuals Filing for Bankruptcy (Official
                                                                      If you do not have access to a computer, the
      Form 101). To ensure that you receive
                                                                      clerk of the bankruptcy court may be able to
      information about your case, Bankruptcy
                                                                      help you obtain the list.
      Rule 4002 requires that you notify the court of
      any changes in your address.

       6/8/2017                                                                 /s/ Shelley Wilgus
Date: _______________________                                          Debtor:_____________________________
      Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4

Date: _______________________                                          Co-Debtor:__________________________
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   Fill in this information to identify your case:

   Debtor 1          Shelley Wilgus
                     __________________________________________________________________
                       First Name             Middle Name                Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name             Middle Name                Last Name


                                           Delaware District of ______________
   United States Bankruptcy Court for the: __________

   Case number         ___________________________________________
    (If known)                                                                                                                           Check if this is an
                                                                                                                                           amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                      04/16

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?


        
        X Married
         Not married

   2. During the last 3 years, have you lived anywhere other than where you live now?

       
       X     No
            Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                        Dates Debtor 1       Debtor 2:                                             Dates Debtor 2
                                                                  lived there                                                                lived there

                                                                                        Same as Debtor 1                                      Same as Debtor 1

                 __________________________________________       From     ________       ___________________________________________           From ________
                  Number    Street                                                        Number Street
                                                                  To       ________                                                             To    ________
                 __________________________________________                               ___________________________________________

                 __________________________________________                               ___________________________________________
                 City                    State ZIP Code                                   City                    State ZIP Code


                                                                                        Same as Debtor 1                                      Same as Debtor 1

                 __________________________________________       From     ________       ___________________________________________           From ________
                  Number    Street                                                        Number Street
                                                                  To       ________                                                             To    ________
                 __________________________________________                               ___________________________________________

                 __________________________________________                               ___________________________________________
                 City                    State ZIP Code                                   City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       
       X     No
            Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



   Part 2: Explain the Sources of Your Income

Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1



                                                                                                   Created with Intuitive Legal LLC @ www.intuitive.legal
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Debtor 1        Shelley    Wilgus
                 _______________________________________________________                                 Case number (if known)_____________________________________
                 First Name     Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income          Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.      (before deductions and
                                                                                         exclusions)                                         exclusions)


            From January 1 of current year until            
                                                            X    Wages, commissions,
                                                                                           150,955 (2016)            Wages, commissions,
                                                                 bonuses, tips           $________________            bonuses, tips          $________________
            the date you filed for bankruptcy:
                                                                Operating a business                                Operating a business


            For last calendar year:                         
                                                            X    Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips             151,199 (2015)
                                                                                         $________________            bonuses, tips          $________________
            (January 1 to December 31, _________)               Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:              
                                                            X    Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips             149,266 (2014)             bonuses, tips
                                                                                         $________________                                   $________________
            (January 1 to December 31, _________)               Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     X     No
          Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income         Gross income from
                                                            Describe below.              each source               Describe below.           each source
                                                                                         (before deductions and                              (before deductions and
                                                                                         exclusions)                                         exclusions)


                                                 __________________                     $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:   __________________                     $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:                       __________________            $_________________ _____________________ $_________________

            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2



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Debtor 1      Shelley    Wilgus
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

 
  X        Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

               
               X    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                                                                     monthly                  1022.22 $__________________
                                                                                                               22459.00
                     NHHELC/GSM&R
                      ____________________________________
                      Creditor’s Name
                                                                      _________     $_________________                                   Mortgage
                                                                                                                                        
                                                                                                                                        X Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3



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Debtor 1        Shelley    Wilgus
                 _______________________________________________________                             Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X     No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount     Amount you still    Reason for this payment
                                                                        payment       paid             owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X     No
          Yes. List all payments that benefited an insider.
                                                                       Dates of       Total amount     Amount you still    Reason for this payment
                                                                       payment        paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 4



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Debtor 1
                Shelley    Wilgus
                 _______________________________________________________                                       Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     X     No
          Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                Status of the case



            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                           Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code




            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                           Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

          No. Go to line 11.
     
     X     Yes. Fill in the information below.

                                                                              Describe the property                                     Date         Value of the property
                                                                             2010 Ford Taurus
           Wells Fargo
                 _________________________________________                                                                              May 2017
                                                                                                                                        __________              None
                                                                                                                                                      $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                              
                                                                              X    Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________     $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________
                 City                               State   ZIP Code
                                                                                  Property was garnished.
                                                                                  Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5



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Debtor 1          Shelley    Wilgus
                   _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name    Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                            Date action      Amount
                                                                                                                                  was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                                ____________ $________________
           Number      Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X     No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                               Dates you gave       Value
            per person                                                                                                            the gifts



                                                                                                                                  _________          $_____________


                                                                                                                                  _________          $_____________




           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                               Dates you gave      Value
           per person                                                                                                             the gifts


           ______________________________________                                                                                 _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                                 _________          $_____________


           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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Debtor 1          Shelley    Wilgus
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X     No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you          Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________         $_____________
           Charity’s Name


           _____________________________________                                                                                        _________         $_____________


           _____________________________________
           Number      Street



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     
     X     No
          Yes. Fill in the details.

            Describe the property you lost and                     Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                       loss              lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________         $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     
     X     No
          Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                        transfer was
            ___________________________________
            Person Who Was Paid                                                                                                         made

            ___________________________________
            Number       Street                                                                                                         _________         $_____________

            ___________________________________
                                                                                                                                        _________         $_____________
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



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Debtor 1        Shelley    Wilgus
                 _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                    transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                    _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                    _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                    transfer was
            ____________________________________                                                                                    made
            Person Who Was Paid

            ____________________________________                                                                                    _________             $____________
            Number        Street

            ____________________________________
                                                                                                                                    _________             $____________
            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     X No
          Yes. Fill in the details.
                                                                    Description and value of property        Describe any property or payments received      Date transfer
                                                                    transferred                              or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                              _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                             _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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Debtor 1        Shelley    Wilgus
                 _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
          No
     
     X     Yes. Fill in the details.

                                                                   Last 4 digits of account number     Type of account or        Date account was       Last balance before
                                                                                                       instrument                closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            M & T Bank
            ____________________________________
            PO  Box 767
            Name of Financial
                         NY Institution
            Buffalo,          14240                                      2 ___
                                                                   XXXX–___ 5 ___
                                                                               8 ___
                                                                                  7                    
                                                                                                       X Checking                11/28/16
                                                                                                                                 _________                    -2251.94
                                                                                                                                                        $___________
            ____________________________________
            Number       Street
                                                                                                        Savings
            ____________________________________                                                        Money market
            ____________________________________
                                                                                                        Brokerage
            City                       State    ZIP Code
                                                                                                        Other__________

            ____________________________________                   XXXX–___ ___ ___ ___                Checking                _________              $___________
            Name of Financial Institution
                                                                                                        Savings
            ____________________________________
            Number       Street                                                                         Money market
            ____________________________________                                                        Brokerage
            ____________________________________                                                        Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
      No
     X
          Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number   Street

            ____________________________________
                                                                  _______________________________________
                                                                  City       State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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Debtor 1           Shelley    Wilgus
                    _______________________________________________________                                             Case number (if known)_____________________________________
                    First Name     Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    X      No
          Yes. Fill in the details.
                                                                    Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                         have it?


             ___________________________________                    _______________________________________                                                               No
             Name of Storage Facility                               Name
                                                                                                                                                                          Yes
             ___________________________________                    _______________________________________                                                              
             Number       Street                                    Number    Street

             ___________________________________                    _______________________________________
                                                                    City State ZIP Code
             ___________________________________
             City                        State    ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     X     No
          Yes. Fill in the details.
                                                                   Where is the property?                                    Describe the property                   Value


             ___________________________________
             Owner’s Name                                                                                                                                            $__________
                                                                  _________________________________________
             ___________________________________                  Number     Street
             Number       Street
                                                                  _________________________________________
             ___________________________________
                                                                  _________________________________________
             ___________________________________                  City                             State     ZIP Code
             City                        State    ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     X     No
          Yes. Fill in the details.
                                                                    Governmental unit                            Environmental law, if you know it                  Date of notice



            ____________________________________                   _______________________________                                                                   _________
            Name of site                                           Governmental unit

            ____________________________________                   _______________________________
            Number       Street                                    Number    Street

                                                                   _______________________________
            ____________________________________                   City                   State   ZIP Code


            ____________________________________
            City                        State    ZIP Code




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Debtor 1        Shelley    Wilgus
                 _______________________________________________________                                               Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     X     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                   Date of notice


            ____________________________________ _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                        _________

            ____________________________________ _______________________________
            Number       Street                                   Number     Street


            ____________________________________ _______________________________
                                                                  City                  State    ZIP Code

            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     X     No
          Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                        case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                         Pending
           ______________________________________
                                                                                                                                                                         On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                   Concluded

           ______________________________________
                                                                    ________________________________
           Case number                                              City                        State   ZIP Code                                                        

 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     X     No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

                                                                                                                                      From      _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

            ____________________________________
                                                                                                                                      From      _______ To _______
            City                        State    ZIP Code


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Debtor 1        Shelley    Wilgus
                 _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name      Middle Name          Last Name




                                                                                                                        Employer Identification number
                                                                Describe the nature of the business
                                                                                                                        Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                        From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X     No
          Yes. Fill in the details below.

                                                                Date issued



            ____________________________________                ____________
            Name                                                MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



           /s/ Shelley Wilgus
            ______________________________________________                    _____________________________
            Signature of Debtor 1                                                Signature of Debtor 2


                  6/8/2017
            Date ________________                                                      6/8/2017
                                                                                 Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            No
      
      X      Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                              Declaration, and Signature (Official Form 119).




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      Debtor: ______________________________                            Case No. ________________


Shelley      Wilgus

SOFA
Line 4: 2013 /        / 115,489 (2013) / Check for Business Income:
Line 4: 2012 /        / 108,367 (2012) / Check for Business Income:




      	  

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Fill in this information to identify your case and this filing:


                   Shelley       Wilgus
Debtor 1          __________________________________________________________________
                    First Name              Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name


United States Bankruptcy Court for the: __________ District of ___________

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X    Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put

              Residence
                                                                  Single-family home                              the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                  Duplex or multi-unit building
                                                                 Single   Family
                                                                    Condominium       Home
                                                                                  or cooperative                   Current value of the     Current value of the
             26080 Zoar Road, Georgetown, DE                      Manufactured or mobile home                     entire property?         portion you own?
             _________________________________________
             19947                                                Land                                                    246700.00
                                                                                                                   $________________               123350.00
                                                                                                                                            $_______________
                                                                  Investment property
             _________________________________________
             City                    State   ZIP Code
                                                                  Timeshare                                       Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                  Other __________________________________        the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 
                                                                 X At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put

              Lee's County Florida property
                                                                   Single-family home                             the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2.    ________________________________________
              Street address, if available, or other description
                                                                   Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                   Real
                                                                     Manufactured
                                                                          Estateor(Other)
                                                                                     mobile home                   entire property?         portion you own?
              ________________________________________
             1245 Columbus Blvd., Fort Myers, FL 33913              Land                                                     1500.00
                                                                                                                   $________________                     750.00
                                                                                                                                            $_________________
                                                                   Investment property
              ________________________________________
              City                             State     ZIP Code
                                                                   Timeshare                                      Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                   Other __________________________________       the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                Debtor 1 only
             ________________________________________
             County                                             Debtor 2 only
                                                                Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                
                                                                X At least one of the debtors and another              (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                              page 1

                                                                                                 Created with Intuitive Legal LLC @ www.intuitive.legal
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Debtor 1      Shelley       Wilgus
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                  the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                          Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare                                           Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                    Other __________________________________            the entireties, or a life estate), if known.
                                                                                                                        __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                             (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                   124100.00
                                                                                                                                                   $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   XNo
   
    Yes

   3.1.    Make:                      2016
                                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put

           Model:
                                      Chevrole
                                      ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                      t Cruze                    
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                                                                             10697.00                  10697.00
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                         Current value of the
                                                                                                                         entire property?
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                   page 2
                                                                                                     Created with Intuitive Legal LLC @ www.intuitive.legal
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Debtor 1         Shelley    Wilgus
                  _______________________________________________________                                                     Case number (if known)_____________________________________
                  First Name         Middle Name                Last Name




           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.3.

           Model:                           ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)


           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.4.

           Model:                           ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   XNo
    Yes

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.1.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
           Other information:                                               
                                                                             At least one of the debtors and another                                  entire property?                portion you own?

                                                                             Check if this is community property (see                                $________________               $________________
                                                                                 instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.2.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________                                                                                                                  Current value of the            Current value of the
                                                                            
                                                                             Debtor 1 and Debtor 2 only
                                                                                                                                                      entire property?                portion you own?
           Other information:                                               
                                                                             At least one of the debtors and another

                                                                                                                                                      $________________               $________________
                                                                             Check if this is community property (see
                                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                           10697.00
                                                                                                                                                                                     $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................ 




Official Form 106A/B                                                         Schedule A/B: Property                                                                                         page 3
                                                                                                                         Created with Intuitive Legal LLC @ www.intuitive.legal
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Debtor 1          Shelley    Wilgus
                   _______________________________________________________                                                                 Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




Part 3:       Describe Your Personal and Household Items

                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                              portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No                                  furniture: ($1500.00);
   
   X Yes. Describe. ........                                                                                                                                                                                1500.00
                                                                                                                                                                                                $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No
   
   X Yes. Describe. .........            electronics: ($250.00);
                                                                                                                                                                                                             250.00
                                                                                                                                                                                                $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No
   X Yes. Describe. ......... collectibles: ($75.00);
                                                                                                                                                                                                             75.00
                                                                                                                                                                                                $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   X No
   
    Yes. Describe. .........                                                                                                                                                                                  0.00
                                                                                                                                                                                                $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
   X Yes. Describe. .......... exercise
   
                                                            equipment: ($75.00);
                                                                                                                                                                                                              75.00
                                                                                                                                                                                                $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
   X Yes. Describe. .......... clothing:
   
                                                              ($50.00);
                                                                                                                                                                                                              50.00
                                                                                                                                                                                                $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
    No
   
   X Yes. Describe. .......... Jewelry:                     ($2000.00); jewelry: ($500.00);
                                                                                                                                                                                                            2500.00
                                                                                                                                                                                                $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

    No
   X Yes. Describe. ..........
                                                                                                                                                                                                             25.00
                                                                                                                                                                                                $___________________
                                         2 cats: ($25.00);

14. Any other personal and household items you did not already list, including any health aids you did not list

   X No
   
    Yes. Give specific                                                                                                                                                                                        0.00
                                                                                                                                                                                                $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                                4475.00
                                                                                                                                                                                                $______________________
   for Part 3. Write that number here .................................................................................................................................................... 



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 4
                                                                                                                                     Created with Intuitive Legal LLC @ www.intuitive.legal
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 Debtor 1
                      Shelley    Wilgus
                       _______________________________________________________                                                                         Case number (if known)_____________________________________
                        First Name            Middle Name                    Last Name




Part 4:           Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                 Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured claims
                                                                                                                                                                                                            or exemptions.


16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

 No
 X Yes ................................................................................................................................................................ 
                                                                                                                                                                          Cash: .......................                  8.00
                                                                                                                                                                                                             $__________________



17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
               and other similar institutions. If you have multiple accounts with the same institution, list each.
          No
     X
          Yes .....................                                                           Institution name:


                                               17.1. Checking account:                         M & T My Choice Plus : M&T Bank
                                                                                               _________________________________________________________                                                                 304.49
                                                                                                                                                                                                             $__________________

                                               17.2. Checking account:                         _________________________________________________________                                                     $__________________

                                               17.3. Savings account:                          _________________________________________________________                                                     $__________________

                                               17.4. Savings account:                          _________________________________________________________                                                     $__________________

                                               17.5. Certificates of deposit:                  _________________________________________________________                                                     $__________________

                                               17.6. Other financial account:                  _________________________________________________________                                                     $__________________

                                               17.7. Other financial account:                  _________________________________________________________                                                     $__________________

                                               17.8. Other financial account:                  _________________________________________________________                                                     $__________________

                                               17.9. Other financial account:                  _________________________________________________________                                                     $__________________




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X No
 Yes .................                       Institution or issuer name:

                                               _________________________________________________________________________________________                                                                     $__________________
                                               _________________________________________________________________________________________                                                                     $__________________
                                               _________________________________________________________________________________________                                                                     $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
     an LLC, partnership, and joint venture
     X No
                                              Name of entity:                                                                                                              % of ownership:
     Yes. Give specific                      _____________________________________________________________________
                                                                                                                                                                            0%
                                                                                                                                                                            ___________%                     $__________________
           information about
                                               _____________________________________________________________________
                                                                                                                                                                            0%
                                                                                                                                                                            ___________%
           them.........................                                                                                                                                                                     $__________________
                                               _____________________________________________________________________
                                                                                                                                                                             0%
                                                                                                                                                                            ___________%                     $__________________




 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 5
                                                                                                                                                 Created with Intuitive Legal LLC @ www.intuitive.legal
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Debtor 1         Shelley    Wilgus
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                    First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No
 Yes. Give specific                    Issuer name:
        information about
        them.......................      ______________________________________________________________________________________                 $__________________
                                         ______________________________________________________________________________________
                                                                                                                                                $__________________
                                         ______________________________________________________________________________________
                                                                                                                                                $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X No
    Yes. List each
        account separately.              Type of account:          Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________          $__________________

                                         Pension plan:             ___________________________________________________________________          $__________________

                                         IRA:                      ___________________________________________________________________          $__________________

                                         Retirement account:       ___________________________________________________________________          $__________________

                                         Keogh:                    ___________________________________________________________________          $__________________

                                         Additional account:       ___________________________________________________________________          $__________________

                                         Additional account:       ___________________________________________________________________          $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X No
    Yes ..........................                            Institution name or individual:

                                         Electric:             ______________________________________________________________________           $___________________
                                         Gas:                  ______________________________________________________________________           $___________________
                                         Heating oil:          ______________________________________________________________________
                                                                                                                                                $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                                $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                                $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                                $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                                $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                                $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                                $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   X
       No
       Yes ..........................   Issuer name and description:
                                          _______________________________________________________________________________________               $__________________
                                         _______________________________________________________________________________________                $__________________
                                         _______________________________________________________________________________________                $__________________


Official Form 106A/B                                                        Schedule A/B: Property                                                          page 6
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Debtor 1      Shelley    Wilgus
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                 First Name               Middle Name            Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   X No
   
    Yes     ....................................
                                                    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                    ____________________________________________________________________________________                 $_________________
                                                    ____________________________________________________________________________________                 $_________________
                                                    ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
   X No
   
    Yes. Give specific
       information about them. ...                                                                                                                                     0.00
                                                                                                                                                         $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   X No
   
    Yes. Give specific
       information about them. ...                                                                                                                                     0.00
                                                                                                                                                         $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   X No
   
    Yes. Give specific
       information about them. ...                                                                                                                                     0.00
                                                                                                                                                         $__________________


Money or property owed to you?                                                                                                                           Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you

   
   X No
    Yes. Give specific information                                                                                            Federal:                           0.00
                                                                                                                                                     $_________________
             about them, including whether
             you already filed the returns                                                                                     State:                $_________________
             and the tax years. .......................
                                                                                                                               Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   X No
   
    Yes. Give specific information. .............
                                                                                                                              Alimony:                               0.00
                                                                                                                                                         $________________
                                                                                                                              Maintenance:               $________________
                                                                                                                              Support:                   $________________
                                                                                                                              Divorce settlement:        $________________
                                                                                                                              Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X No
    Yes. Give specific information. ..............                                                                                                                        0.00
                                                                                                                                                         $______________________



Official Form 106A/B                                                         Schedule A/B: Property                                                                page 7
                                                                                                            Created with Intuitive Legal LLC @ www.intuitive.legal
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Debtor 1          Shelley    Wilgus
                   _______________________________________________________                                                                 Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   X No
    Yes. Name the insurance company                                Company name:                                                             Beneficiary:                                       Surrender or refund value:
                of each policy and list its value. ...
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X No
    Yes. Give specific information. .............                                                                                                                                                                   0.00
                                                                                                                                                                                                 $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X No
    Yes. Describe each claim. ....................                                                                                                                                                                   0.00
                                                                                                                                                                                                 $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                                     0.00
                                                                                                                                                                                                 $_____________________




35. Any financial assets you did not already list

   
   X    No
       Yes. Give specific information............                                                                                                                                                                   0.00
                                                                                                                                                                                                 $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                                  312.49
   for Part 4. Write that number here ....................................................................................................................................................      $_____________________




Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   
   X    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe .......
                                                                                                                                                                                                                0.00
                                                                                                                                                                                               $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X    No
       Yes. Describe .......                                                                                                                                                                                   0.00
                                                                                                                                                                                               $_____________________



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 8
                                                                                                                                     Created with Intuitive Legal LLC @ www.intuitive.legal
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Debtor 1          Shelley    Wilgus
                   _______________________________________________________                                                                 Case number (if known)_____________________________________
                    First Name            Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe .......                                                                                                                                                                                   0.00
                                                                                                                                                                                               $_____________________


41. Inventory
   
   X    No
       Yes. Describe .......                                                                                                                                                                                   0.00
                                                                                                                                                                                               $_____________________


42. Interests in partnerships or joint ventures
   X
       No
       Yes. Describe ....... Name of entity:                                                                                                                      % of ownership:
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________


43. Customer lists, mailing lists, or other compilations
  
  X     No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X     No
                     Yes. Describe. .......
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                $____________________
        information .........
                                         ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________

                                         ______________________________________________________________________________________                                                                 $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                $____________________
   for Part 5. Write that number here .................................................................................................................................................... 




Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ..........................

                                                                                                                                                                                                                0.00
                                                                                                                                                                                                 $___________________



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 9
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 Debtor 1
                     Shelley    Wilgus
                      _______________________________________________________                                                                    Case number (if known)_____________________________________
                       First Name           Middle Name                   Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                                     0.00
                                                                                                                                                                                                          $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ..........................
                                                                                                                                                                                                                         0.00
                                                                                                                                                                                                          $___________________

50. Farm and fishing supplies, chemicals, and feed
     X
          No
          Yes ..........................
                                                                                                                                                                                                                         0.00
                                                                                                                                                                                                          $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                                     0.00
                                                                                                                                                                                                          $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                           0.00
                                                                                                                                                                                                          $___________________
     for Part 6. Write that number here .................................................................................................................................................... 



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No                                                                                                                                                                                                          0.00
                                                                                                                                                                                                           $________________
          Yes. Give specific
           information. ............                                                                                                                                                                        $________________
                                                                                                                                                                                                            $________________


                                                                                                                                                                                                                        0.00
54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                                      $________________




Part 8:            List the Totals of Each Part of this Form

                                                                                                                                                                                                                 124100.00
55. Part 1: Total real estate, line 2 ..............................................................................................................................................................     $________________

                                                                                                                          10697.00
56. Part 2: Total vehicles, line 5                                                                                $________________

                                                                                                                           4475.00
57. Part 3: Total personal and household items, line 15                                                           $________________

                                                                                                                            312.49
58. Part 4: Total financial assets, line 36                                                                       $________________

                                                                                                                              0.00
59. Part 5: Total business-related property, line 45                                                              $________________

                                                                                                                              0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $________________

                                                                                                                            0.00
61. Part 7: Total other property not listed, line 54                                                          + $________________
                                                                                                                          15484.49
62. Total personal property. Add lines 56 through 61. ....................                                        $________________ Copy personal property total                                                   15484.49
                                                                                                                                                                                                         + $_________________

                                                                                                                                                                                                                  139584.49
63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                               $_________________



 Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                   page 10
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  Fill in this information to identify your case:

 Debtor 1
                    Shelley       Wilgus
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: Delaware
                                         __________ District of __________

 Case number
  (If known)
                     ___________________________________________                                                                             Check if this is an
                                                                                                                                                amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     X You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B
                                                                                                                                 10 Del. C. Sec 4914(b)
      Brief                                                                                                                      ____________________________
      description:
                              Lee's County Florida property
                             _________________________  750.00$1500.00
                                                       $________________                 
                                                                                         X $ ____________
                                                                                             1500.00
                                                                                                                                 ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    1
      Schedule A/B: ______                                                                  any applicable statutory limit      ____________________________

                                                                                                                                 10 Del. C. Sec 4914(b)
      Brief                                                                                                                      ____________________________
      description:
                              Checking Account $1000.00
                             _________________________  500.00
                                                       $________________                 
                                                                                         X $ ____________
                                                                                             1000.00
                                                                                                                                 ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    ______
                    17                                                                      any applicable statutory limit       ____________________________
      Schedule A/B:
                                                                                                                                 10 Del. C. Sec 4914(b)
      Brief                                                                                                                      ____________________________
      description:
                              M & T My Choice Plus
                             _________________________      $304.49
                                                              304.49
                                                             $________________           
                                                                                         X $ ____________
                                                                                             304.49
                                                                                                                                 ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
      Schedule A/B: ______
                    17                                                                      any applicable statutory limit       ____________________________


 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                       2
                                                                                                                                                     page 1 of __

                                                                                                    Created with Intuitive Legal LLC @ www.intuitive.legal
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Debtor 1      Shelley Wilgus
             _______________________________________________________                          Case number (if known)_____________________________________
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B
                                                                                                                       10 Del. C. Sec 4914(b)
     Brief                                                                                                             ____________________________
     description:
                           Jewelry $2000.00
                          _________________________              2000.00
                                                        $________________      
                                                                               X $ ____________
                                                                                       2000.00
                                                                                                                       ____________________________
     Line from     12
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________
                                                                                                                       10 Del. C. Sec 4914(b)
     Brief                                                                                                             ____________________________
     description:
                           furniture $1500.00
                          _________________________              1500.00
                                                        $________________      
                                                                               X $ ____________
                                                                                        750.00
                                                                                                                       ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   6
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:
                                                                                                                       10 Del. C. Sec 4914(b)
     Brief                                                                                                             ____________________________
     description:
                           electronics $250.00
                          _________________________               250.00
                                                        $________________       $ ____________
                                                                               X        250.00
                                                                                                                       ____________________________
     Line from     7
                                                                                100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:
                                                                                                                       10 Del. C. Sec 4914(b)
     Brief                                                                                                             ____________________________
     description:
                           collectibles $75.00
                          _________________________                75.00
                                                        $________________       $ ____________
                                                                               X         75.00
                                                                                                                       ____________________________
     Line from     8
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________
                                                                                                                       10 Del. C. Sec 4914(b)
     Brief                                                                                                             ____________________________
     description:
                           exercise equipment $75.00
                          _________________________            75.00
                                                    $________________          
                                                                               X $ ____________
                                                                                         75.00
                                                                                                                       ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   10
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:
                                                                                                                       10 Del. C. Sec 4914(b)
     Brief                                                                                                             ____________________________
     description:
                           clothing $50.00
                          _________________________                50.00
                                                        $________________      
                                                                               X $ ____________
                                                                                          50.00
                                                                                                                       ____________________________
     Line from     11
                                                                                100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:
                                                                                                                       10 Del. C. Sec 4914(b)
     Brief                                                                                                             ____________________________
     description:
                           jewelry $500.00
                          _________________________               500.00
                                                        $________________      X $ ____________
                                                                                       500.00
                                                                                                                       ____________________________
     Line from     12
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________
                                                                                                                       10 Del. C. Sec 4914(b)
     Brief                                                                                                             ____________________________
     description:
                           2 cats $25.00
                          _________________________                25.00
                                                        $________________      
                                                                               X $ ____________
                                                                                          25.00
                                                                                                                       ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   13                                                                                                  ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit

                                                                                                                       10 Del. C. Sec 4914(b)
     Brief                                                                                                             ____________________________
     description:
                           Cash $8.00
                          _________________________                 8.00
                                                        $________________      
                                                                               X $ ____________
                                                                                          8.00
                                                                                                                       ____________________________
     Line from     NA
                                                                                100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                       page ___  2
                                                                                                                                              2 of __
                                                                                          Created with Intuitive Legal LLC @ www.intuitive.legal
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Fill in this information to identify your case:

 Debtor 1            Shelley Wilgus
                   __________________________________________________________________
                     First Name                Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name                  Last Name


 United States Bankruptcy Court for the: __________
                                         Delaware District of __________

 Case number         ___________________________________________
 (If known)                                                                                                                                            Check if this is an
                                                                                                                                                          amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      
      X Yes. Fill in all of the information below.

Part 1:         List All Secured Claims
                                                                                                                        Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                 Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.             Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                      value of collateral.   claim                 If any

2.1     CARRINGTON MORTGAGE SE                                                                                            285763.00          246700.00        39063.00
                                                        Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name
         1600 S DOUGLASS RD STE 2
      ______________________________________             Residence
      Number            Street

       None                                             As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                            Contingent
       ANAHEIM, CA 92806
      ______________________________________                Unliquidated
      City                        State   ZIP Code          Disputed
  Who owes the debt? Check one.                         Nature of lien. Check all that apply.
  
  X Debtor 1 only                                           An agreement you made (such as mortgage or secured
   Debtor 2 only                                            car loan)
   Debtor 1 and Debtor 2 only                          
                                                        X    Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another                 Judgment lien from a lawsuit
                                                            Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
                            2006-03
  Date debt was incurred ____________                                                    9569
                                                        Last 4 digits of account number ___ ___ ___ ___
2.2                                                                                                                       6515.00            532.00             5983.00
       WFS FINANCIAL / western financial                Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name
        PO BOX 19752
      ______________________________________             2010 Ford Taurus
      Number            Street

        None                                            As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                            Contingent
             IRVINE, CA 92623
      ______________________________________                Unliquidated
      City                        State   ZIP Code          Disputed
  Who owes the debt? Check one.                         Nature of lien. Check all that apply.
  X Debtor 1 only
                                                       
                                                        X    An agreement you made (such as mortgage or secured
   Debtor 2 only                                            car loan)
   Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another                 Judgment lien from a lawsuit
                                                            Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
                            2013-05
  Date debt was incurred ____________
                                                                                                7831
                                                        Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                              292278.00
                                                                                                                        $________________


Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                             2
                                                                                                                                                            page 1 of ___
                                                                                                       Created with Intuitive Legal LLC @ www.intuitive.legal
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 Debtor 1
                   Shelley    Wilgus
                   _______________________________________________________                              Case number (if known)_____________________________________
                   First Name    Middle Name         Last Name




              Additional Page                                                                                        Column A               Column B              Column C
Part 1:                                                                                                              Amount of claim        Value of collateral   Unsecured
              After listing any entries on this page, number them beginning with 2.3, followed                                              that supports this    portion
                                                                                                                     Do not deduct the
              by 2.4, and so forth.                                                                                  value of collateral.   claim                 If any
2.3 ______________________________________
     GMFINANCIAL                                     Describe the property that secures the claim:                     24565.83
                                                                                                                     $_________________   10697.00
                                                                                                                                        $________________   13868.83
                                                                                                                                                          $____________
    Creditor’s Name
       PO BOX 181145
    ______________________________________
    Number            Street                         2016 Chevrolet Cruze
            None
    ______________________________________           As of the date you file, the claim is: Check all that apply.
        ARLINGTON, TX 76096
    ______________________________________               Contingent
    City                         State    ZIP Code       Unliquidated
                                                         Disputed
  Who owes the debt? Check one.                      Nature of lien. Check all that apply.
  X Debtor 1 only
                                                    X
                                                         An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
   Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
      Check if this claim relates to a
       community debt

  Date debt was incurred ____________                                                 4326
                                                     Last 4 digits of account number ___ ___ ___ ___


    ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
    Creditor’s Name

    ______________________________________
    Number            Street

                                                     As of the date you file, the claim is: Check all that apply.
    ______________________________________
                                                         Contingent
    ______________________________________               Unliquidated
    City                         State    ZIP Code
                                                         Disputed
  Who owes the debt? Check one.
                                                     Nature of lien. Check all that apply.
      Debtor 1 only
                                                         An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another           Judgment lien from a lawsuit

      Check if this claim relates to a
                                                         Other (including a right to offset) ____________________
       community debt

  Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


    ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
    Creditor’s Name

    ______________________________________
    Number            Street

    ______________________________________           As of the date you file, the claim is: Check all that apply.
    ______________________________________               Contingent
    City                         State    ZIP Code       Unliquidated
                                                         Disputed
  Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
      Check if this claim relates to a
       community debt
  Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

                                                                                                     24565.83
            Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
            If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                      316843.83
                                                                                                   $_________________
            Write that number here:

 Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              2
                                                                                                                                                              2 of ___
                                                                                                                                                         page ___
                                                                                                    Created with Intuitive Legal LLC @ www.intuitive.legal
                                         Case 17-11279-BLS                    Doc 1         Filed 06/08/17               Page 41 of 85
  Fill in this information to identify your case:

      Debtor 1
                         Shelley       Wilgus
                        __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name              Last Name


                                              Delaware District of __________
      United States Bankruptcy Court for the: __________

      Case number         ___________________________________________
                                                                                                                                                        Check if this is an
      (If known)                                                                                                                                           amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         
         X No. Go to Part 2.
          Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim    Priority     Nonpriority
                                                                                                                                                      amount       amount
2.1
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
           Priority Creditor’s Name

           ____________________________________________                When was the debt incurred?          ____________
           Number            Street
           ____________________________________________
                                                                       As of the date you file, the claim is: Check all that apply.
           ____________________________________________
           City                                State    ZIP Code
                                                                          Contingent
                                                                          Unliquidated
           Who incurred the debt? Check one.
                                                                          Disputed
                 Debtor 1 only
                 Debtor 2 only                                        Type of PRIORITY unsecured claim:
                 Debtor 1 and Debtor 2 only
                                                                          Domestic support obligations
                 At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
                 Check if this claim is for a community debt             Claims for death or personal injury while you were
           Is the claim subject to offset?                                 intoxicated
                 No                                                      Other. Specify _________________________________
                 Yes
2.2
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
           Priority Creditor’s Name
                                                                       When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                As of the date you file, the claim is: Check all that apply.

           ____________________________________________
                                                                          Contingent
           City                                State    ZIP Code          Unliquidated
           Who incurred the debt? Check one.                              Disputed
                 Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                          Domestic support obligations
                 Debtor 1 and Debtor 2 only
                 At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
                                                                          Claims for death or personal injury while you were
                 Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                                Other. Specify _________________________________
                 No
                 Yes


 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                      17
                                                                                                                                                             page 1 of ___
                                                                                                           Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1           Shelley        Case 17-11279-BLS Doc 1
                               Wilgus
                     _______________________________________________________
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                                                                                               Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Part 2:         List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.1    NHHELC/GSM&R                                                                                                4 ___
                                                                                                                      3 ___
                                                                                                                         7 ___
                                                                                                                            4
       _____________________________________________________________              Last 4 digits of account number ___                                             22459.00
       Nonpriority Creditor’s Name                                                                                                                        $__________________
                                                                                  When was the debt incurred?           2015-09
                                                                                                                        ____________
       PO BOX 3420
       _____________________________________________________________
       Number            Street
       CONCORD, NH 03302
       _____________________________________________________________
       City                                             State          ZIP Code   As of the date you file, the claim is: Check all that apply.

                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated
       
       X Debtor 1 only                                                               Disputed
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
        At least one of the debtors and another                                     Student loans

             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
       X No
                                                                                 
                                                                                  X                   Installment
                                                                                      Other. Specify ______________________________________
        Yes
4.2                                                                               Last 4 digits of account number ___ ___ ___ ___                                    990.00
                                                                                                                                                          $__________________
       MERRICK BANK CORP
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?           2015-11
                                                                                                                        ____________
       PO BOX 9201
       _____________________________________________________________
       Number            Street
       OLD BETHPAGE, NY 11804                                                     As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code
                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated

       
       X Debtor 1 only                                                               Disputed

             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                                Student loans
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                             that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
       X
        No                                                                       
                                                                                  X                   Revolving
                                                                                      Other. Specify ______________________________________

             Yes

4.3
       MERRICK BK
       _____________________________________________________________                                                * ___
                                                                                  Last 4 digits of account number ___   * ___
                                                                                                                            * ___
                                                                                                                                *                                   990.00
                                                                                                                                                          $_________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?            2015-11
                                                                                                                        ____________
       POB 9201
       _____________________________________________________________
       Number            Street
       OLD BETHPAGE, NY 11804
       _____________________________________________________________              As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code

                                                                                     Contingent
       Who incurred the debt? Check one.
                                                                                     Unliquidated
       
       X Debtor 1 only                                                               Disputed
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
        At least one of the debtors and another
                                                                                     Student loans
             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       
       X No                                                                       
                                                                                  X                   Revolving
                                                                                      Other. Specify ______________________________________
        Yes


Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page1__ of 17
                                                                                                                                                                            ___
                                                                                                   Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1          Shelley        Case 17-11279-BLS Doc 1
                              Wilgus
                    _______________________________________________________
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                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


4                                                                                                                   * ___
                                                                                   Last 4 digits of account number ___ * ___
                                                                                                                          * ___
                                                                                                                             *
      1ST NTL BK OF MARIN CARD
      _____________________________________________________________
                                                                                                                                                                807.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2014-09
                                                                                                                        ____________
      POB 98872
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       LAS VEGAS, NV 89193
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Revolving
                                                                                       Other. Specify________________________________
      
      X No
       Yes

5
                                                                                   Last 4 digits of account number ___ ___ ___ ___                              566.00
                                                                                                                                                           $____________
      FIRST PREMIER CREDITCA
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2015-09
                                                                                                                        ____________
      601 S MINNESOTA AVE
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      SIOUX FALLS, SD 57104
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Revolving
                                                                                       Other. Specify________________________________
      
      X No
       Yes

6                                                                                                                                                               566.00
                                                                                                                                                           $____________
                                                                                                                    * ___
                                                                                   Last 4 digits of account number ___ * ___
                                                                                                                          * ___
                                                                                                                             *
      FST PREMIER
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2015-09
                                                                                                                        ____________
      3820 N LOUISE AVE
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      SIOUX FALLS, SD 57107
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Revolving
                                                                                       Other. Specify________________________________
       No
      X
            Yes




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                                                                                                                                                                __ of ___
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 Debtor 1          Shelley        Case 17-11279-BLS Doc 1
                              Wilgus
                    _______________________________________________________
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                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


7                                                                                                                   * ___
                                                                                   Last 4 digits of account number ___ * ___
                                                                                                                          * ___
                                                                                                                             *
      DEL-ONE FCU
      _____________________________________________________________
                                                                                                                                                                455.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          1998-07
                                                                                                                        ____________
      270 BEISER BLVD
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       DOVER, DE 19904
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Revolving
                                                                                       Other. Specify________________________________
      
      X No
       Yes

8
                                                                                   Last 4 digits of account number ___ ___ ___ ___                              455.00
                                                                                                                                                           $____________
      DEL-ONE FEDERAL CU
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          1998-07
                                                                                                                        ____________
      150 E WATER ST
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      DOVER, DE 19901
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Revolving
                                                                                       Other. Specify________________________________
      
      X No
       Yes

9                                                                                                                                                               390.00
                                                                                                                                                           $____________
                                                                                                                    8 ___
                                                                                   Last 4 digits of account number ___ 4 ___
                                                                                                                          0 ___
                                                                                                                             4
      CAPITAL ONE auto
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2014-04
                                                                                                                        ____________
      PO BOX 85520
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      RICHMOND, VA 23285
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Revolving
                                                                                       Other. Specify________________________________
       No
      X
            Yes




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                                                                                                                                                                __ of ___
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 Debtor 1          Shelley        Case 17-11279-BLS Doc 1
                              Wilgus
                    _______________________________________________________
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                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


10                                                                                                                  * ___
                                                                                   Last 4 digits of account number ___ * ___
                                                                                                                          * ___
                                                                                                                             *
      CAPITAL 1 BK
      _____________________________________________________________
                                                                                                                                                                390.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2014-04
                                                                                                                        ____________
      11013 W BROAD ST
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       GLEN ALLEN, VA 23060
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Revolving
                                                                                       Other. Specify________________________________
      
      X No
       Yes

11                                                                                                                  * ___
                                                                                                                       * ___
                                                                                                                          * ___
                                                                                                                             *
                                                                                   Last 4 digits of account number ___                                          230.00
                                                                                                                                                           $____________
      DISCOVER FINANCIAL SERVI
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          1994-05
                                                                                                                        ____________
      POB 15316
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      WILMINGTON, DE 19850
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Revolving
                                                                                       Other. Specify________________________________
      
      X No
       Yes

12                                                                                                                                                              256.01
                                                                                                                                                           $____________
                                                                                                                    3 ___
                                                                                   Last 4 digits of account number ___ 8 ___
                                                                                                                          1 ___
                                                                                                                             7
      DISCOVER FINANCIAL SVC
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          1994-05
                                                                                                                        ____________
      PO BOX 15316
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      WILMINGTON, DE 19850
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Revolving
                                                                                       Other. Specify________________________________
       No
      X
            Yes




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                                                                                                                                                                __ of ___
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 Debtor 1          Shelley        Case 17-11279-BLS Doc 1
                              Wilgus
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                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


13                                                                                                                  0 ___
                                                                                   Last 4 digits of account number ___ 3 ___
                                                                                                                          * ___
                                                                                                                             *
      NATIONWIDE
      _____________________________________________________________
                                                                                                                                                                135.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2015-12
                                                                                                                        ____________
      5503 CHEROKEE AV SUITE 200
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       ALEXANDRIA, VA 22312
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Unknown
                                                                                       Other. Specify________________________________
      
      X No
       Yes

14                                                                                                                  * ___
                                                                                                                       * ___
                                                                                                                          1 ___
                                                                                                                             4
                                                                                   Last 4 digits of account number ___                                          125.00
                                                                                                                                                           $____________
      BAY AREA REC
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2010-06
                                                                                                                        ____________
      714 EASTERN SHORE DR
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      SALISBURY, MD 21801
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Unknown
                                                                                       Other. Specify________________________________
      
      X No
       Yes

15                                                                                                                                                               99.00
                                                                                                                                                           $____________
                                                                                                                    5 ___
                                                                                   Last 4 digits of account number ___ 1 ___
                                                                                                                          5 ___
                                                                                                                             5
      FST COLLECT
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2013-04
                                                                                                                        ____________
      PO BOX 102
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      LEWES, DE 19958
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Unknown
                                                                                       Other. Specify________________________________
       No
      X
            Yes




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                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


16                                                                                                                  * ___
                                                                                   Last 4 digits of account number ___ * ___
                                                                                                                          0 ___
                                                                                                                             9
      BAY AREA RECEIVABLES
      _____________________________________________________________
                                                                                                                                                                 15.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2014-01
                                                                                                                        ____________
      714 EASTERN SHORES DR
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       SALISBURY, MD 21804
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Unknown
                                                                                       Other. Specify________________________________
      
      X No
       Yes

17                                                                                                                  3 ___
                                                                                                                       7 ___
                                                                                                                          9 ___
                                                                                                                             2
                                                                                   Last 4 digits of account number ___                                          880.00
                                                                                                                                                           $____________
      MOBILOANSLLC
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          6/7/16
                                                                                                                        ____________
      PO BOX 1409
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      MARKSVILLE, LA 71351
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

18                                                                                                                                                             1004.50
                                                                                                                                                           $____________
                                                                                                                    5 ___
                                                                                   Last 4 digits of account number ___ 3 ___
                                                                                                                          8 ___
                                                                                                                             3
      CashNetUSA
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          5/20/16
                                                                                                                        ____________
      175 West Jackson
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      CHICAGO, IL 60604
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
       No
      X
            Yes




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                              Wilgus
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                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


19                                                                                                                  0 ___
                                                                                   Last 4 digits of account number ___ 3 ___
                                                                                                                          8 ___
                                                                                                                             8
      Big Picture Loans
      _____________________________________________________________
                                                                                                                                                                920.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          11/10/16
                                                                                                                        ____________
      P.O. Box 704
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       WATERSMEET, MI 49969
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

20                                                                                                                  2 ___
                                                                                                                       6 ___
                                                                                                                          1 ___
                                                                                                                             7
                                                                                   Last 4 digits of account number ___                                         1634.72
                                                                                                                                                           $____________
      EZ Loans, Inc.
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      28544 DuPont Blvd., Unit 11
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      MILLSBORO, DE 19966
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

21                                                                                                                                                             4000.00
                                                                                                                                                           $____________
      Rise Credit                                                                  Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 101808
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      FORT WORTH, TX 76185
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      
      X      Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
       No
      X
            Yes




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 Debtor 1          Shelley        Case 17-11279-BLS Doc 1
                              Wilgus
                    _______________________________________________________
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                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


22                                                                                                                  0 ___
                                                                                   Last 4 digits of account number ___ 8 ___
                                                                                                                          8 ___
                                                                                                                             9
      Bayhealth
      _____________________________________________________________
                                                                                                                                                                417.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          12/12/16
                                                                                                                        ____________
      522 South State Street
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       DOVER, DE 19901
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  medical services
                                                                                       Other. Specify________________________________
      
      X No
       Yes

23                                                                                                                  0 ___
                                                                                                                       7 ___
                                                                                                                          9 ___
                                                                                                                             0
                                                                                   Last 4 digits of account number ___                                           35.00
                                                                                                                                                           $____________
      Bayside Health Assn
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      1535 Savannah Road
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      LEWES, DE 19958
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  medical services
                                                                                       Other. Specify________________________________
      
      X No
       Yes

24                                                                                                                                                             2487.00
                                                                                                                                                           $____________
                                                                                                                    7 ___
                                                                                   Last 4 digits of account number ___ 4 ___
                                                                                                                          2 ___
                                                                                                                             2
      MLR Solutions
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 824
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      MALVERN, PA 19355
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Wilmington University
                                                                                       Other. Specify________________________________
       No
      X
            Yes




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 Debtor 1          Shelley        Case 17-11279-BLS Doc 1
                              Wilgus
                    _______________________________________________________
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                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


25                                                                                                                  2 ___
                                                                                   Last 4 digits of account number ___ 1 ___
                                                                                                                          4 ___
                                                                                                                             1
      Bayhealth
      _____________________________________________________________
                                                                                                                                                               4831.50
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          12/4/12
                                                                                                                        ____________
      PO BOX 822105
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       PHILADELPHIA, PA 19182
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  medical services
                                                                                       Other. Specify________________________________
      
      X No
       Yes

26                                                                                                                  9 ___
                                                                                                                       5 ___
                                                                                                                          4 ___
                                                                                                                             2
                                                                                   Last 4 digits of account number ___                                          926.52
                                                                                                                                                           $____________
      Capital One Bank
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 60500
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      CITY OF INDUSTRY, CA 91716
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      
      X      Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

27                                                                                                                                                              129.74
                                                                                                                                                           $____________
                                                                                                                    5 ___
                                                                                   Last 4 digits of account number ___ 2 ___
                                                                                                                          8 ___
                                                                                                                             2
      Capital One Bank USA
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO BOX 71083
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      CHARLOTTE, NC 28272
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      
      X      Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
       No
      X
            Yes




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                              Wilgus
                    _______________________________________________________
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                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


28                                                                                                                  1 ___
                                                                                   Last 4 digits of account number ___ 0 ___
                                                                                                                          1 ___
                                                                                                                             7
      Kent Diagnostic Radiology Assoc. PA
      _____________________________________________________________
                                                                                                                                                                 12.86
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 1206
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       NEPTUNE, NJ 07754
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

29                                                                                                                  7 ___
                                                                                                                       0 ___
                                                                                                                          9 ___
                                                                                                                             1
                                                                                   Last 4 digits of account number ___                                           15.00
                                                                                                                                                           $____________
      Pensula Imaging, LLC
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      918 Eastern Shore Drive
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      SALISBURY, MD 21804
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

30                                                                                                                                                               25.00
                                                                                                                                                           $____________
                                                                                                                    2 ___
                                                                                   Last 4 digits of account number ___ 5 ___
                                                                                                                          4 ___
                                                                                                                             6
      Bayhealth Physicians
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          9/17/12
                                                                                                                        ____________
      PO Box 822639
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      PHILADELPHIA, PA 19182
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
       No
      X
            Yes




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 Debtor 1          Shelley        Case 17-11279-BLS Doc 1
                              Wilgus
                    _______________________________________________________
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                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


31                                                                                                                  8 ___
                                                                                   Last 4 digits of account number ___ 5 ___
                                                                                                                          1 ___
                                                                                                                             5
      First Collection, Inc.
      _____________________________________________________________
                                                                                                                                                                 98.64
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO BOX 102
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       LEWES, DE 19958
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

32
                                                                                   Last 4 digits of account number ___ ___ ___ ___                              125.00
                                                                                                                                                           $____________
      Dr. Michael Tilghman
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      1324 Belmont Ave., Suite 104
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      SALISBURY, MD 21804
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      
      X      Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

33                                                                                                                                                                 5.00
                                                                                                                                                           $____________
                                                                                                                    0 ___
                                                                                   Last 4 digits of account number ___ 4 ___
                                                                                                                          8 ___
                                                                                                                             9
      Doctors Pathology Services
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 371863
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      PITTSBURGH, PA 15250
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
       No
      X
            Yes




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                              Wilgus
                    _______________________________________________________
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                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


34                                                                                                                  5 ___
                                                                                   Last 4 digits of account number ___ 7 ___
                                                                                                                          6 ___
                                                                                                                             9
      Nationwide Credit Corp.
      _____________________________________________________________
                                                                                                                                                                 25.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 9156
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       ALEXANDRIA, VA 22304
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

35
                                                                                   Last 4 digits of account number ___ ___ ___ ___                                 5.00
                                                                                                                                                           $____________
      Atlantic Plastic Surgery
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      106 Milford Street, Ste. 307
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      SALISBURY, MD 21804
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

36                                                                                                                                                               20.00
                                                                                                                                                           $____________
                                                                                                                    6 ___
                                                                                   Last 4 digits of account number ___ 8 ___
                                                                                                                          3 ___
                                                                                                                             5
      Beebe Physician Network, Inc.
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO Box 12283
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      BELFAST, ME 04915
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
       No
      X
            Yes




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                              Wilgus
                    _______________________________________________________
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                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


37                                                                                                                  1 ___
                                                                                   Last 4 digits of account number ___ 2 ___
                                                                                                                          2 ___
                                                                                                                             5
      Allied Diagnostic Pathology
      _____________________________________________________________
                                                                                                                                                                 10.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO BOX 371863
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       PITTSBURGH, PA 15250
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

38                                                                                                                  9 ___
                                                                                                                       8 ___
                                                                                                                          2 ___
                                                                                                                             5
                                                                                   Last 4 digits of account number ___                                           93.70
                                                                                                                                                           $____________
      Mary Marshall
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          12/13/16
                                                                                                                        ____________
      PO Box 665
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      TYLERTON, MD 21866
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

39                                                                                                                                                              178.00
                                                                                                                                                           $____________
                                                                                                                    0 ___
                                                                                   Last 4 digits of account number ___ 2 ___
                                                                                                                          8 ___
                                                                                                                             9
      AMCOL CLMBIA
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      PO BOX 21625
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      COLUMBIA, SC 29221
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
       Debtor 1 only
      X
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
       No
      X
            Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 13    17
                                                                                                                                                                __ of ___
                                                                                                Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1          Shelley        Case 17-11279-BLS Doc 1
                              Wilgus
                    _______________________________________________________
                                                                                   Filed 06/08/17     Page 55 of 85
                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


40                                                                                                                  9 ___
                                                                                   Last 4 digits of account number ___ 8 ___
                                                                                                                          5 ___
                                                                                                                             4
      DirectTV
      _____________________________________________________________
                                                                                                                                                                153.65
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      P.O. Box 6550
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       ENGLEWOOD, CO 80155
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

41
                                                                                   Last 4 digits of account number ___ ___ ___ ___                             3800.00
                                                                                                                                                           $____________
      Janet Jestice
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      14984 Laurel Road
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      LAUREL, DE 19956
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      X
       Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X   Other. Specify________________________________
      
      X No
       Yes

                                                                                                                                                           $____________
                                                                                   Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
            No
            Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 14    17
                                                                                                                                                                __ of ___
                                                                                                Created with Intuitive Legal LLC @ www.intuitive.legal
 Debtor 1      Shelley        Case 17-11279-BLS Doc 1
                          Wilgus
                _______________________________________________________
                                                                                 Filed 06/08/17     Page 56 of 85
                                                                                            Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



 Part 3:       List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      NCB Management Services, Inc.
      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       PO Box 1099
      _____________________________________________________
                                                                                21 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                             
                                                                                                        X Part 2: Creditors with Nonpriority Unsecured Claims
      _____________________________________________________
                                                                           Last 4 digits of account number ___ ___ ___ ___
       LANGHORNE, PA 19047
      _____________________________________________________
      City                                  State               ZIP Code

      Rushmore Service Center
      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      PO Box 5508
      _____________________________________________________
                                                                                6 of (Check one):
                                                                           Line _____                      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                             
                                                                                                        X   Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      SIOUX FALLS, SD 57117
      _____________________________________________________                                                 * ___
                                                                           Last 4 digits of account number ___ * ___
                                                                                                                  * ___
                                                                                                                     *
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________                Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      _____________________________________________________
      City                                  State               ZIP Code
                                                                           Last 4 digits of account number ___ ___ ___ ___


Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                              page 15
                                                                                                                                                         __ of 17
                                                                                                                                                               ___
                                                                                             Created with Intuitive Legal LLC @ www.intuitive.legal
Debtor 1       Shelley Wilgus  Case 17-11279-BLS                   Doc 1
               _______________________________________________________
                                                                              Filed 06/08/17     Page 57 of 85
                                                                                         Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                        Total claim


                6a. Domestic support obligations                                6a.                              0
Total claims                                                                            $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                  6b.                              0
                                                                                        $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                 6c.                              0
                                                                                        $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                     6d.
                                                                                      + $_________________________0

                6e. Total. Add lines 6a through 6d.                             6e.
                                                                                                                 0
                                                                                        $_________________________



                                                                                        Total claim

                6f. Student loans                                               6f.                              0
Total claims                                                                             $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                                                                                                                 0
                    claims                                                      6g.      $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                               6h.                              0
                                                                                        $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                     6i.   + $_________________________
                                                                                                       50760.84



                6j. Total. Add lines 6f through 6i.                             6j.
                                                                                                        50760.84
                                                                                         $_________________________




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                    page 16    17
                                                                                                                                                __ of ___
                                                                                          Created with Intuitive Legal LLC @ www.intuitive.legal
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 Fill in this information to identify your case:

 Debtor
                      Shelley       Wilgus
                      __________________________________________________________________
                       First Name             Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name             Last Name


                                           Delaware
 United States Bankruptcy Court for the: __________ District of ________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      X    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
                                                                                              Created with Intuitive Legal LLC @ www.intuitive.legal
                                        Case 17-11279-BLS                      Doc 1        Filed 06/08/17         Page 59 of 85
 Fill in this information to identify your case:

 Debtor 1          Shelley Wilgus
                   __________________________________________________________________
                     First Name                     Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                         Delaware District of ________
 United States Bankruptcy Court for the: __________

 Case number         ____________________________________________
  (If known)
                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                     12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       No
      
      X Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                                Check all schedules that apply:
3.1       Harry Wilgus, Jr.
         ________________________________________________________________________________
         Name
                                                                                                                 Schedule D, line ______
         26080 Zoar Road
         ________________________________________________________________________________
                                                                                                                Schedule E/F, line ______
                                                                                                                                     NA
         Number            Street                                                                                Schedule G, line ______
         GEORGETOWN, DE 19947
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________
         Name
                                                                                                                 Schedule D, line ______
         ________________________________________________________________________________
                                                                                                                Schedule E/F, line ______
         Number            Street                                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________
         Name
                                                                                                                 Schedule D, line ______
         ________________________________________________________________________________
                                                                                                                Schedule E/F, line ______
         Number            Street                                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                                          1
                                                                                                                                                       page 1 of ___
                                                                                                        Created with Intuitive Legal LLC @ www.intuitive.legal
                                   Case 17-11279-BLS               Doc 1       Filed 06/08/17          Page 60 of 85

 Fill in this information to identify your case:

                     Shelley      Wilgus
 Debtor 1           ___________________________________________________________________
                     First Name              Middle Name           Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name              Middle Name           Last Name


 United States Bankruptcy Court for the: ______________________
                                         Delaware               District of __________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
Official Form B 6I
                                                                                                       ________________
                                                                                                       MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional           Employment status          
                                                                      X Employed                                     
                                                                                                                     X   Employed
    employers.                                                         Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.                                             RN                                           Supervisor
                                           Occupation               __________________________________           __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                                                    State of Delaware - Howard T. EnnisDSWA
                                           Employer’s name          __________________________________ __________________________________


                                           Employer’s address       820 Silver Lake Blvd., Suite 100 ________________________________________
                                                                   _______________________________________ 1128 Bradford Street
                                                                    Number Street                          Number Street

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                    DOVER, DE 19904
                                                                   _______________________________________       DOVER, DE 19904
                                                                                                               ________________________________________
                                                                    City            State  ZIP Code              City                State ZIP Code

                                           How long employed there?14 _______
                                                                      years                                       18 months
                                                                                                                  _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.          7668.41                 3131.68
                                                                                              $___________           $____________

 3. Estimate and list monthly overtime pay.                                            3.   + $___________0      +   $____________0


 4. Calculate gross income. Add line 2 + line 3.                                       4.          7668.41
                                                                                              $__________                  3131.68
                                                                                                                     $____________



Official Form B 6I                                              Schedule I: Your Income                                                       page 1

                                                                                            Created with Intuitive Legal LLC @ www.intuitive.legal
                                      Case 17-11279-BLS                              Doc 1             Filed 06/08/17               Page 61 of 85
Debtor 1         _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.     $___________            $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.           833.46                    700.93
                                                                                                                                                  $_____________
                                                                                                                         $____________
     5b. Mandatory contributions for retirement plans                                                            5b.           201.16
                                                                                                                         $____________                    71.54
                                                                                                                                                  $_____________
                                                                                                                                     0                    20.00
     5c. Voluntary contributions for retirement plans                                                            5c.      $____________           $_____________
                                                                                                                                     0                        0
     5d. Required repayments of retirement fund loans                                                            5d.      $____________           $_____________
     5e. Insurance                                                                                               5e.            221.64
                                                                                                                          $____________                  165.22
                                                                                                                                                  $_____________
     5f. Domestic support obligations                                                                            5f.                 0
                                                                                                                          $____________                       0
                                                                                                                                                  $_____________
                                                                                                                                     0
                                                                                                                          $____________                       0
                                                                                                                                                  $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                     0        +               0
                                                                                                                                                  $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                    6.           1256.26
                                                                                                                          $____________                  957.69
                                                                                                                                                  $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.           6412.15
                                                                                                                          $____________                 2173.99
                                                                                                                                                  $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                        0                         0
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.                0
                                                                                                                         $____________                        0
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                     0                        0
                                                                                                                          $____________           $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.                0
                                                                                                                         $____________                        0
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.                0
                                                                                                                         $____________                        0
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                                     0
                                                                                                                         $____________                        0
                                                                                                                                                  $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                            8g.                0
                                                                                                                         $____________                        0
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                     0         + $_____________
                                                                                                                                                             0

 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.                0                         0
                                                                                                                                                  $_____________
                                                                                                                         $____________

10. Calculate monthly income. Add line 7 + line 9.                                                                                                                      8586.14
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                              6412.15
                                                                                                                         $___________     +             2173.99 = $_____________
                                                                                                                                                  $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                     11. + $_____________
                                                                                                                                                                                    0

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             8586.14
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                 12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     
     X     No.
          Yes. Explain:


Official Form B 6I                                                                 Schedule I: Your Income                                                                 page 2

                                                                                                                        Created with Intuitive Legal LLC @ www.intuitive.legal
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  Fill in this information to identify your case:

  Debtor 1           Shelley Wilgus
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                          Delaware
  United States Bankruptcy Court for the: ______________________ District of __________                   expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   X    No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                     No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 
                                            X   Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                    Son                                      20                No
                                                                                   _________________________                ________
   names.                                                                                                                                 X   Yes

                                                                                   Daughter
                                                                                   _________________________                6
                                                                                                                            ________          No
                                                                                                                                          
                                                                                                                                          X    Yes

                                                                                   Husband
                                                                                   _________________________                47
                                                                                                                            ________          No
                                                                                                                                          X   Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                            
                                            X   No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                            2100.00
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
                                                                                                                                                   0
     4a.    Real estate taxes                                                                                         4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.
                                                                                                                                                   0
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                    100.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.                          0
                                                                                                                              $_____________________

Official Form B 6J                                            Schedule J: Your Expenses                                                          page 1

                                                                                               Created with Intuitive Legal LLC @ www.intuitive.legal
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 Debtor 1        _______________________________________________________                      Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                                             0
                                                                                                                        $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                       6a.    $_____________________
                                                                                                                                       439.00

      6b.   Water, sewer, garbage collection                                                                     6b.    $_____________________
                                                                                                                                        53.17
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                       6c.    $_____________________
                                                                                                                                       447.00
      6d.   Other. Specify: _______________________________________________                                      6d.    $_____________________
                                                                                                                                             0

 7. Food and housekeeping supplies                                                                               7.                    750.00
                                                                                                                        $_____________________

 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                       343.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                       150.00
10.   Personal care products and services                                                                        10.    $_____________________
                                                                                                                                       230.00
11.   Medical and dental expenses                                                                                11.    $_____________________
                                                                                                                                       250.00

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                       690.00
      Do not include car payments.                                                                               12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                         13.    $_____________________
                                                                                                                                       239.50

14.   Charitable contributions and religious donations                                                           14.    $_____________________
                                                                                                                                        60.00

15.   Insurance.                                                                                                                                       1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                        15a.                  280.78
                                                                                                                        $_____________________
      15b. Health insurance                                                                                      15b.                        0
                                                                                                                        $_____________________
      15c. Vehicle insurance                                                                                     15c.   $_____________________
                                                                                                                                       314.00

      15d. Other insurance. Specify:_______________________________________                                      15d.   $_____________________
                                                                                                                                             0

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                        $_____________________
                                                                                                                                             0
      Specify: ________________________________________________________                                          16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                            17a.   $_____________________
                                                                                                                                       340.74

      17b. Car payments for Vehicle 2                                                                            17b.   $_____________________
                                                                                                                                             0

      17c. Other. Specify:_______________________________________________                                        17c.                        0
                                                                                                                        $_____________________

      17d. Other. Specify:_______________________________________________                                        17d.                        0
                                                                                                                        $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                                                0
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                      18.   $_____________________


19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                             19.                        0
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                           20a.   $_____________________
                                                                                                                                             0

      20b. Real estate taxes                                                                                     20b.   $_____________________
                                                                                                                                             0

      20c. Property, homeowner’s, or renter’s insurance                                                          20c.   $_____________________
                                                                                                                                             0

      20d. Maintenance, repair, and upkeep expenses                                                              20d.   $_____________________
                                                                                                                                             0

      20e. Homeowner’s association or condominium dues                                                           20e.   $_____________________
                                                                                                                                             0



 Official Form B 6J                                            Schedule J: Your Expenses                                                      page 2

                                                                                           Created with Intuitive Legal LLC @ www.intuitive.legal
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 Debtor 1        _______________________________________________________                         Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                       Student Loan $258.82;                                                                                  258.82
21.    Other. Specify: _________________________________________________                                            21.   +$_____________________

22.    Calculate your monthly expenses.
                                                                                                                              7046.01
       22a. Add lines 4 through 21.                                                                               22a.     $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.        0
                                                                                                                           $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.       7046.01
                                                                                                                           $_____________________



23. Calculate your monthly net income.
                                                                                                                               8586.14
                                                                                                                            $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                          23a.

      23b.   Copy your monthly expenses from line 22c above.                                                       23b.       7046.01
                                                                                                                          – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                          1540.13
                                                                                                                            $_____________________
             The result is your monthly net income.                                                                23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X   No.
         Yes.     Explain here:




Official Form 106J                                            Schedule J: Your Expenses                                                          page 3

                                                                                              Created with Intuitive Legal LLC @ www.intuitive.legal
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Fill in this information to identify your case:

                     Shelley           Wilgus
Debtor 1          __________________________________________________________________
                    First Name                   Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                   Middle Name            Last Name

                                              Delaware
United States Bankruptcy Court for the: __________ District of __________

Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                       12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




          /s/ Shelley Wilgus
          ______________________________________________             
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


              6/8/2017
         Date _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules


                                                                                                         Created with Intuitive Legal LLC @ www.intuitive.legal
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 Fill in this information to identify your case:

 Debtor 1          Shelley Wilgus
                   __________________________________________________________________
                     First Name                      Middle Name                      Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                      Last Name

                                                 Delaware
 United States Bankruptcy Court for the: __________ District of __________

 Case number         ___________________________________________                                                                                                             Check if this is an
                     (If known)                                                                                                                                                amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                                   248200.00
                                                                                                                                                                            $ ________________
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................


   1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................                     15484.49
                                                                                                                                                                            $ ________________


   1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................               263684.49
                                                                                                                                                                            $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                                   316843.83
                                                                                                                                                                            $ ________________
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                            0
                                                                                                                                                                            $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................                                        50760.84
                                                                                                                                                                        +   $ ________________


                                                                                                                                                                                   367604.67
                                                                                                                                       Your total liabilities               $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                     8586.14
                                                                                                                                                                            $ ________________
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                                      7046.01
                                                                                                                                                                            $ ________________
   Copy your monthly expenses from line 22c of Schedule J ....................................................................................................




Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                  page 1 of 2

                                                                                                                      Created with Intuitive Legal LLC @ www.intuitive.legal
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   Debtor 1        Shelley    Wilgus
                    _______________________________________________________                           Case number (if known)_____________________________________
                    First Name     Middle Name        Last Name




   Part 4:        Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
        Yes

   7. What kind of debt do you have?

       
       X Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
              family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       10800.09
                                                                                                                                          $ _________________




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                               Total claim


        From Part 4 on Schedule E/F, copy the following:


                                                                                                                                    0
                                                                                                               $_____________________
       9a. Domestic support obligations (Copy line 6a.)

                                                                                                                                   0
                                                                                                               $_____________________
       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                                    0
                                                                                                               $_____________________
       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


                                                                                                                                   0
                                                                                                               $_____________________
       9d. Student loans. (Copy line 6f.)


       9e. Obligations arising out of a separation agreement or divorce that you did not report as                                 0
                                                                                                               $_____________________
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +                       0
                                                                                                               $_____________________



       9g. Total. Add lines 9a through 9f.                                                                                          0
                                                                                                               $_____________________




Official Form 106Sum         Summary of Your Assets and Liabilities and Certain Statistical Information                                          page 2 of 2

                                                                                                  Created with Intuitive Legal LLC @ www.intuitive.legal
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   Fill in this information to identify your case:                                                                   Check as directed in lines 17 and 21:
                                                                                                                     According to the calculations required by
     Debtor 1           Shelley Wilgus
                       __________________________________________________________________                            this Statement:
                         First Name                Middle Name             Last Name

     Debtor 2            ________________________________________________________________                               1. Disposable income is not determined
     (Spouse, if filing) First Name                Middle Name             Last Name                                        under 11 U.S.C. § 1325(b)(3).
                                              Delaware
     United States Bankruptcy Court for the: ______________________ District of __________                           
                                                                                                                     X   2. Disposable income is determined
                                                                                                                            under 11 U.S.C. § 1325(b)(3).
     Case number         ___________________________________________
     (If known)                                                                                                         3. The commitment period is 3 years.
                                                                                                                     X 4. The commitment period is 5 years.

                                                                                                                    
                                                                                                                     Check if this is an amended filing



 Chapter 13 Statement of Your Current Monthly Income
 and Calculation of Commitment Period                                                                                                                12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
 more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
 top of any additional pages, write your name and case number (if known). 


Part 1:             Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
         X   Married. Fill out both Columns A and B, lines 2-11.

         Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
         bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
         August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
         the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
         from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                      Column A               Column B
                                                                                                     Debtor 1                Debtor 2 or
                                                                                                                             non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                          7668.41                 3131.68
         payroll deductions).                                                                         $____________             $__________

3. Alimony and maintenance payments. Do not include payments from a spouse if                                 0.00                    0.00
         Column B is filled in.                                                                       $____________             $__________

4.



                                                                                                             0.00                     0.00
                                                                                                      $___________              $__________

5. Net income from operating a business, profession, or farm
                                                                                   0.00
         Gross receipts (before all deductions)                            $____________
                                                                                   0.00
         Ordinary and necessary operating expenses                     –   $____________

                                                                                   0.00     Copy              0.00                   0.00
         Net monthly income from a business, profession, or farm           $____________              $____________             $_________
                                                                                            here


6. Net income from rental and other real property
                                                                                   0.00
         Gross receipts (before all deductions)                            $____________

         Ordinary and necessary operating expenses                   –       0.00
                                                                           $_____________
                                                                                   0.00     Copy
         Net monthly income from rental or other real property             $____________                      0.00                   0.00
                                                                                            here     $____________            $__________


                                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                         page 1

                                                                                                Created with Intuitive Legal LLC @ www.intuitive.legal
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 Debtor 1           Shelley    Wilgus
                     _______________________________________________________                                                                  Case number (if known)_____________________________________
                     First Name           Middle Name                  Last Name   

                                                                                                                                          Column A                              Column B
                                                                                                                                           Debtor 1                             Debtor 2 or
                                                                                                                                                                                non-filing spouse
                                                                                                                                                    0.00                                 0.00
7. Interest, dividends, and royalties                                                                                                       $____________                          $__________
                                                                                                                                                    0.00
                                                                                                                                            $____________                                0.00
                                                                                                                                                                                   $__________
8. Unemployment compensation

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ................................... 
                                                                                                           0.00
        For you .........................................................................         $_____________
        For your spouse ...........................................................                        0.00
                                                                                                  $_____________

9. Pension or retirement income. Do not include any amount received that was a                                                                       0.00                                0.00
     benefit under the Social Security Act.                                                                                                  $____________                         $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total on line 10c.
                                                                                                                                                      0.00                               0.00
                                                                                                                                             $_____________                       $___________
       10a. __________________________________________________________________
                                                                                                                                                      0.00                               0.00
                                                                                                                                             $_____________                       $___________
       10b. __________________________________________________________________

       10c. Total amounts from separate pages, if any.                                                                                   + $____________
                                                                                                                                                   0.00
                                                                                                                                                                              + $__________
                                                                                                                                                                                      0.00


11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                  7668.41
                                                                                                                                             $____________                +           3131.68
                                                                                                                                                                                  $___________           =   10800.09
                                                                                                                                                                                                             $________
                                                                                                                                                                                                             Total average
                                                                                                                                                                                                             monthly income




Part 2:           Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. ......................................................................................................................                               10800.09
                                                                                                                                                                                                         $_____________
13. Calculate the marital adjustment. Check one:

         You are not married. Fill in 0 in line 13d.
         You are married and your spouse is filing with you. Fill in 0 in line 13d.
     
     X    You are married and your spouse is not filing with you.

                                      
                                    


                                                                                            
                                                                                                                                                        0.00
          13a. _______________________________________________________________________                                                           $___________ 
          13b. _______________________________________________________________________                                                                  0.00
                                                                                                                                                 $___________
                                                                                                                                                      0.00
          13c. _______________________________________________________________________                                                       + $___________
                                                                                                                                                                                             13d. ─____________
          13d. Total .................................................................................................................                  0.00                                               0.00
                                                                                                                                                 $___________                Copy here.



14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                  14.        10800.09
                                                                                                                                                                                                          $ __________


15. Calculate your current monthly income for the year. Follow these steps:
                                                                                                                                                                                                              10800.09
                                                                                                                                                                                                         $ ____________
     15a. Copy line 14 here            ......................................................................................................................................................... 15a.
            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                    x 12
     15b. The result is your current monthly income for the year for this part of the form.                                                                                                     15b.       129601.08
                                                                                                                                                                                                         $___________


                                              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                               page 2

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 Debtor 1           Shelley    Wilgus
                     _______________________________________________________                                                              Case number (if known)_____________________________________
                     First Name           Middle Name                 Last Name  

16. Calculate the median family income that applies to you. Follow these steps:
                                                                                              Delaware
     16a. Fill in the state in which you live.                                                _________
                                                                                                4.00
     16b. Fill in the number of people in your household.                                     _________


     16c. Fill in the median family income for your state and size of household. ............................................................................. 16c.                                         92642.00
                                                                                                                                                                                                         $___________
             To find a list of applicable median income amounts, go online using the link specified in the separate
             instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.   
                                                                                                                                                                     .

          
     17b. X




Part 3:              Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


18. Copy your total average monthly income from line 11. ...................................................................................................................... 18.                        10800.09
                                                                                                                                                                                                         $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
     that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
     income, copy the amount from line 13d.
                                                                                                                                                                                                               0.00
     If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                        19a.    ─   $__________

     Subtract line 19a from line 18.                                                                                                                                                                       10800.09
                                                                                                                                                                                                         $__________
                                                                                                                                                                                              19b.

20. Calculate your current monthly income for the year. Follow these steps:

     20a. Copy line 19b.. ................................................................................................................................................................... 20a.          10800.09
                                                                                                                                                                                                         $___________

             Multiply by 12 (the number of months in a year).                                                                                                                                        x 12
     20b. The result is your current monthly income for the year for this part of the form.                                                                                                 20b.           129601.08
                                                                                                                                                                                                         $___________


     20c. Copy the median family income for your state and size of household from line 16c. ..........................................................                                                      92642.00
                                                                                                                                                                                                         $___________

21. How do the lines compare?

         Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
          3 years. Go to Part 4.
      Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
     X
       check box 4, The commitment period is 5 years. Go to Part 4.
  
 Part 4:           Sign Below

        By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

              /s/ Shelley Wilgus
              ___________________________________________________                                                ____________________________________
             Signature of Debtor 1                                                                                     Signature of Debtor 2

                   6/8/2017                                                                                                 6/8/2017
             Date _________________                                                                                    Date _________________
                     MM / DD         / YYYY                                                                                    MM / DD         / YYYY



        If you checked 17a, do NOT fill out or file Form 22C–2.
        If you checked 17b, fill out Form 22C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.

  

                                              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                            page 3

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  Fill in this information to identify your case:

    Debtor 1           Shelley Wilgus
                      __________________________________________________________________
                        First Name                   Middle Name             Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name                   Middle Name             Last Name

                                             Delaware
    United States Bankruptcy Court for the: ______________________ District of __________
                                      
    Case number         ___________________________________________
    (If known)
                                                                                                                          Check if this is an amended filing




Chapter 13 Calculation of Your Disposable Income                                                                                                       04/16

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 22C–1).
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).



Part 1:             Calculate Your Deductions from Your Income




        5.   The number of people used in determining your deductions from income
             Fill in the number of people who could be claimed as exemptions on your federal income tax return,
             plus the number of any additional dependents whom you support. This number may be different
                                                                                                                                          4.00
             from the number of people in your household.



        National Standards               You must use the IRS National Standards to answer the questions in lines 6-7.



        6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National                                 1650.00
             Standards, fill in the dollar amount for food, clothing, and other items.                                                           $________



        7.
                                                                                                                                                                 



 

                                                                                                                                                                 

                                                              Chapter 13 Calculation of Your Disposable Income                                               page 1


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           People who are under 65 years of age
                                                                                                     49.00
           7a. Out-of-pocket health care allowance per person $______________
           7b. Number of people who are under 65                                         4.00
                                                                                      X ______
                                                                                              196.00                 Copy line         196.00
           7c. Subtotal. Multiply line 7a by line 7b.                                 $______________                          $___________
                                                                                                                     7c here

            People who are 65 years of age or older
                                                                      117.00
           7d. Out-of-pocket health care allowance per person $______________

           7e. Number of people who are 65 or older                                      0.00
                                                                                      X ______
                                                                                                                     Copy line
           7f. Subtotal. Multiply line 7d by line 7e.
                                                                                                0.00
                                                                                      $______________                7f here
                                                                                                                                   + $__________0.00

                                                                                                                                         196.00       Copy total
      7g. Total. Add lines 7c and 7f. ..........................................................................................    $___________                                 196.00
                                                                                                                                                      here .........7g.    $________

  Local
                         You must use the IRS Local Standards to answer the questions in lines 8-15.
  Standards

  Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy purposes
  into two parts:
   Housing and utilities – Insurance and operating expenses

   Housing and utilities – Mortgage or rent expenses

  To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
  specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

  8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in                                                         681.00
      the dollar amount listed for your county for insurance and operating expenses.                                                                                        $_______

  9. Housing and utilities – Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount                                            1227.00
                 listed for your county for mortgage or rent expenses.                                                             $__________

           9b. Total average monthly payment for all mortgages and other debts secured by
                your home.
                 To calculate the total average monthly payment, add all amounts that are
                 contractually due to each secured creditor in the 60 months after you file for
                 bankruptcy. Next divide by 60.

               Name of the creditor                                                   Average monthly
                                                                                      payment


             CARRINGTON MORTGAGE SE                                                            None
             ______________________________________                                    $__________
             ______________________________________                                            0.00
                                                                                       $__________

             ______________________________________
                                                                                  +            0.00
                                                                                       $__________
                                                                                                                   Copy line                 0.00      Repeat this amount
           9b.Total average monthly payment .........................                          0.00
                                                                                       $__________                 9b here
                                                                                                                                   ─ $____________     on line 33a.

     9c. Net mortgage or rent expense.
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent                                              1227.00
                                                                                                                                   $____________      Copy 9c here              1227.00
                                                                                                                                                                            $________
           expense). If this number is less than $0, enter $0.

  10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects
                                                                                                                                                                            $________
      the calculation of your monthly expenses, fill in any additional amount you claim.
           Explain why:       ________________________________________________________________
                              ________________________________________________________________


                                                                 Chapter 13 Calculation of Your Disposable Income                                                                    page 2



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  11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

            0. Go to line 14.
           
           X 1. Go to line 12.
           2 or more. Go to line 12.

  12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
      expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                      279.00
                                                                                                                                                $_______


  13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each
      vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you
      may not claim the expense for more than two vehicles.


           Vehicle 1       Describe        2016 Chevrolet Cruze
                                           _______________________________________________________________________
                           Vehicle 1:
                                           _______________________________________________________________________


           13a. Ownership or leasing costs using IRS Local Standard                                            471
                                                                                                      $____________
                                                                                            13a.

           13b. Average monthly payment for all debts secured by Vehicle 1.
                Do not include costs for leased vehicles.
                To calculate the average monthly payment here and on line 13e,
                add all amounts that are contractually due to each secured
                creditor in the 60 months after you file for bankruptcy. Then
                divide by 60.

              Name of each creditor for Vehicle 1               Average monthly
                                                                payment

             GMFINANCIAL                              340.74                      Copy13b                               Repeat this amount
             _________________________________ $_____________
                                                                                  here
                                                                                                    ─ $___________
                                                                                                             340.74
                                                                                                                    on line 33b.




           13c. Net Vehicle 1 ownership or lease expense                                                                  Copy net Vehicle 1
                                                                                                           130.26
                                                                                                                          expense here
                Subtract line 13b from line 13a. If this number is less than $0, enter $0. 13c.       $___________                                   130.26
                                                                                                                                                $_______




           Vehicle 2       Describe        _______________________________________________________________________
                           Vehicle 2:
                                           ________________________________________________________________________


           13d. Ownership or leasing costs using IRS Local Standard                         13d.      $___________

           13e. Average monthly payment for all debts secured by Vehicle 2.
                Do not include costs for leased vehicles.


             Name of each creditor for Vehicle 2                Average monthly
                                                                payment


                                                                                                                        Repeat this amount
            _________________________________ $_____________                      Copy here        ─ $___________      on line 33c.


           13f. Net Vehicle 2 ownership or lease expense                                                                  Copy net Vehicle 2
                                                                                                            0.00
                                                                                                      $__________                              $_______0.00
                Subtract line 13e from 13d. If this number is less than $0, enter $0.        13f.                         expense here 



  14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
      Transportation expense allowance regardless of whether you use public transportation.                                                    $_______0.00


  15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
      deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
      more than the IRS Local Standard for Public Transportation.                                                                               $_______0.00



                                                     Chapter 13 Calculation of Your Disposable Income                                                     page 3



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               _______________________________________________________                                  Case number (if known)_____________________________________
                  First Name   Middle Name         Last Name




  Other Necessary                  In addition to the expense deductions listed above, you are allowed your monthly expenses for the
  Expenses                         following IRS categories.

  16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-
        employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12                                             $_______
                                                                                                                                                                           1534.39
        and subtract that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.

  17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
        union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                                            $_______
                                                                                                                                                                              0.00

  18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
        together, include payments that you make for your spouse’s term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life
        insurance other than term.                                                                                                                                      $_______
                                                                                                                                                                            300.40

  19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
        agency, such as spousal or child support payments.                                                                                                              $_______
                                                                                                                                                                              0.00
        Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

  20. Education: The total monthly amount that you pay for education that is either required:
         as a condition for your job, or                                                                                                                               $_______
                                                                                                                                                                              0.00
         for your physically or mentally challenged dependent child if no public education is available for similar services.

  21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not include payments for any elementary or secondary school education.                                                                                       $_______
                                                                                                                                                                              0.00

  22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
        required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
        savings account. Include only the amount that is more than the total entered in line 7.
                                                                                                                                                                        $_______
                                                                                                                                                                             54.00
        Payments for health insurance or health savings accounts should be listed only in line 25.

  23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
        you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
        service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
        is not reimbursed by your employer.                                                                                                                         +   $________
                                                                                                                                                                            447.00
        Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Form 22C-1, or any amount you previously deducted.

  24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                 $________
                                                                                                                                                                           6499.05
        Add lines 6 through 23.

  Additional Expense                    These are additional deductions allowed by the Means Test.
  Deductions                            Note: Do not include any expense allowances listed in lines 6-24.

  25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
        dependents.
            Health insurance                                       367.24
                                                               $__________

            Disability insurance                               $__________
                                                                     0.00

            Health savings account                         +   $__________
                                                                     0.00
            Total                                              $__________
                                                                   367.24      Copy total here .................................................................       $________
                                                                                                                                                                            367.24

            Do you actually spend this total amount?
           No. How much do you actually spend?                  0.00
                                                           $__________
        
        X   Yes

  26.
                                                                                                                                                                              0.00
                                                                                                                                                                        $_______


  27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
        you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                                                           0.00
                                                                                                                                                                        $_______
        By law, the court must keep the nature of these expenses confidential.


                                                    Chapter 13 Calculation of Your Disposable Income                                                                           page 4



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                First Name         Middle Name                Last Name




  28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,
                                                                                                                                                                            0.00
                                                                                                                                                                         $_______
      then fill in the excess amount of home energy costs.
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
      claimed is reasonable and necessary.


  29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more
      than $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a                                                     343.00
                                                                                                                                                                         $_______
      private or public elementary or secondary school.
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.
      * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.

  30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher                                                   0.00
                                                                                                                                                                         $_______
      than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
      food and clothing allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.


  31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
      instruments to a religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).                                                                            + _________
                                                                                                                                                                          60.00

      Do not include any amount more than 15% of your gross monthly income.

  32. Add all of the additional expense deductions.                                                                                                                       770.24
                                                                                                                                                                     $___________
      Add lines 25 through 31.


  Deductions for Debt Payment

  33. For debts that are secured by an interest in property that you own, including home mortgages,
      vehicle loans, and other secured debt, fill in lines 33a through 33g.
      To calculate the total average monthly payment, add all amounts that are contractually due to each
      secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.



                                                                                                                                     Average monthly
                                                                                                                                     payment
           Mortgages on your home                                                                        
           33a. Copy line 9b here................................................................................................             0.00
                                                                                                                                     $___________
       
           Loans on your first two vehicles                                                              
           33b. Copy line 13b here. ............................................................................................
                                                                                                                                            340.74
                                                                                                                                     $___________
     
           33c. Copy line 13e here. ............................................................................................    $___________
                                                                                                                   
           Name of each creditor for other                       Identify property that secures                   Does payment
           secured debt                                          the debt                                         include taxes
                                                                                                                  or insurance?

                                                                                                                   q
                                                                                                                    X No             0.00
                                                                                                                            $___________
                 WFS FINANCIAL / western_____________________________
           33d. ____________________________ 2010
                                              financial
                                                  Ford Taurus                                                      qYes
                                                                                                                   qNo     $___________
           33e. ____________________________ _____________________________                                         qYes
                                                                                                                   qNo   + $___________
           33f. _____________________________ _____________________________
                                                                                                                    Yes
                                                                                                                                            340.74      Copy total            340.74
           33g. Total average monthly payment. Add lines 33a through 33f. ......................................                     $___________                        $_______
                                                                                                                                                        here




                                                                Chapter 13 Calculation of Your Disposable Income                                                                    page 5



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               First Name        Middle Name              Last Name




  34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for
      your support or the support of your dependents?


       No. Go to line 35.
      X
          Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep possession of
                your property (called the cure amount). Next, divide by 60 and fill in the information below.

                  Name of the creditor                    Identify property that               Total cure                         Monthly cure amount
                                                          secures the debt                     amount


                  __________________________              __________________                   $__________          ÷ 60 =        $___________


                  __________________________              __________________                   $__________          ÷ 60 =        $___________


                  __________________________              __________________                   $__________          ÷ 60 = +      $___________

                                                                                                                                                        Copy
                                                                                                                   Total                 0.00
                                                                                                                                  $___________          total           0.00
                                                                                                                                                                 $_______
                                                                                                                                                        here


  35. Do you owe any priority claimssuch as a priority tax, child support, or alimony that are past due as of the
      filing date of your bankruptcy case? 11 U.S.C. § 507.
      X No. Go to line 36.
          Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing
                priority claims, such as those you listed in line 19.

                  Total amount of all past-due priority claims. ...........................................................                 0.00
                                                                                                                                  $______________       ÷ 60        0.00
                                                                                                                                                                 $_______



  36. Projected monthly Chapter 13 plan payment                                                                                          3190.06
                                                                                                                                  $______________

      Current multiplier for your district as stated on the list issued by the Administrative Office
      of the United States Courts (for districts in Alabama and North Carolina) or by the
      Executive Office for United States Trustees (for all other districts).
                                                                                                                              x     0.06
                                                                                                                                   ______
      To find a list of district multipliers that includes your district, go online using the link specified
      in the separate instructions for this form. This list may also be available at the bankruptcy
      clerk’s office.
                                                                                                                                                        Copy
                                                                                                                                  $______________
                                                                                                                                          194.59        total          194.59
                                                                                                                                                                 $_______
      Average monthly administrative expense                                                                                                            here

  37. Add all of the deductions for debt payment. Add lines 33g through 36.
                                                                                                                                                                 $_______
                                                                                                                                                                    535.33




  Total Deductions from Income

  38. Add all of the allowed deductions.

     Copy line 24, All of the expenses allowed under IRS expense allowances ........................                                     6499.05
                                                                                                                                  $______________

     Copy line 32, All of the additional expense deductions .......................................................                       770.24
                                                                                                                                  $______________
                                                                                                                                        535.33
     Copy line 37, All of the deductions for debt payment ..........................................................          + $______________
                                                                                                                                                        Copy
     Total deductions                                                                                                             $______________
                                                                                                                                         7804.62        total         7804.62
                                                                                                                                                                 $_______
                                                                                                                                                        here 




                                                           Chapter 13 Calculation of Your Disposable Income                                                                 page 6



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                _______________________________________________________                                           Case number (if known)_____________________________________
                 First Name       Middle Name             Last Name


Part 2:     Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

39. Copy your total current monthly income from line 14 of Form 22C-1, Chapter 13
    Statement of Your Current Monthly Income and Calculation of Commitment Period. ........................................................................   10800.09
                                                                                                                                                               $_______

40. Fill in any reasonably necessary income you receive for support for dependent children.
    The monthly average of any child support payments, foster care payments, or disability
    payments for a dependent child, reported in Part I of Form 22C-1, that you received in                                              0.00
                                                                                                                               $____________
    accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
    expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
    employer withheld from wages as contributions for qualified retirement plans, as specified                                         20.00
                                                                                                                               $____________
    in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
    specified in 11 U.S.C. § 362(b)(19).

                                                                                                                                     7804.62
42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ...............                         $____________


43. Deduction for special circumstances. If special circumstances justify additional
    expenses and you have no reasonable alternative, describe the special circumstances and
    their expenses. You must give your case trustee a detailed explanation of the special
    circumstances and documentation for the expenses.

    Describe the special circumstances                                                Amount of expense

    43a. ______________________________________________________
         Student Loan                                                                        258.82  
                                                                                        $___________

    43b. ______________________________________________________
                                                                                        $___________ 
    43c. ______________________________________________________                      + $___________ 
                                                                                                               Copy 43d
    43d.Total. Add lines 43a through 43c ......................................         $___________
                                                                                             258.82
                                                                                                               here          + $_____________
                                                                                                                                       258.82


                                                                                                                                                 Copy total
44. Total adjustments. Add lines 40 through 43d. ........................................................................     $_____________
                                                                                                                                     8083.44
                                                                                                                                                 here        –        8083.44
                                                                                                                                                                  $______



                                                                                                                                                                    2716.65
                                                                                                                                                                  $_______
45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.




 Part 3:          Change in Income or Expenses


46. Change in income or expenses. If the income in Form 22C-1 or the expenses you reported in this form
    have changed or are virtually certain to change after the date you filed your bankruptcy petition and during
    the time your case will be open, fill in the information below. For example, if the wages reported increased
    after you filed your petition, check 22C-1 in the first column, enter line 2 in the second column, explain why
    the wages increased, fill in when the increase occurred, and fill in the amount of the increase.

     Form                 Line      Reason for change                                       Date of change            Increase or       Amount of change
                                                                                                                      decrease?

      22C─1              ____       _______________________________                       ____________
                                                                                                                       Increase       $____________
      22C─2                                                                                                           Decrease 
      22C─1              ____       _______________________________                       ____________
                                                                                                                       Increase       $____________
      22C─2                                                                                                           Decrease 
      22C─1              ____       _______________________________                       ____________
                                                                                                                       Increase       $____________
      22C─2                                                                                                           Decrease 

      22C─1              ____       _______________________________                       ____________
                                                                                                                       Increase       $____________
      22C─2                                                                                                           Decrease 


                                                           Chapter 13 Calculation of Your Disposable Income                                                               page 7



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Debtor 1      Shelley    Wilgus
               _______________________________________________________                          Case number (if known)_____________________________________
               First Name            Middle Name   Last Name




Part 4:          Sign Below




By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.



   /s/ Shelley Wilgus
    ___________________________________________________                  __________________________________
    Signature of Debtor 1                                                    Signature of Debtor 2


          6/8/2017
    Date _________________                                                        6/8/2017
                                                                             Date _________________
           MM / DD          / YYYY                                                MM / DD      / YYYY



 

 




                                                    Chapter 13 Calculation of Your Disposable Income                                                  page 8



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     Debtor: ______________________________              Case No. ________________


Shelley Wilgus
B22
B22C1 Line 13: $None




     	  

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        Shelley   Wilgus
Debtor: ______________________________                        Case No. ________________

                                                              Chapter _________________
                                                                       13




                     VERIFICATION OF CREDITOR MATRIX

The above-named Debtor(s) hereby state(s) that the attached list of creditors is true and
correct to the best of his/her/their knowledge.

Dated: ______________
       6/8/2017
                                      Debtor:         ___________________________
                                                      /s/ Shelley Wilgus



Dated: ______________                 Co-Debtor:      ___________________________




	  

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Debtor: ______________________________
         Shelley Wilgus
                                                         Case No. ________________


                  Debtor(s)
                  26080 Zoar Road

                  GEORGETOWN, DE 19947

                  CARRINGTON MORTGAGE SE
                  1600 S DOUGLASS RD STE 2
                  ANAHEIM, CA 92806

                  NHHELC/GSM&R
                  PO BOX 3420
                  CONCORD, NH 03302

                  WFS FINANCIAL / western financial
                  PO BOX 19752
                  IRVINE, CA 92623

                  MERRICK BANK CORP
                  PO BOX 9201
                  OLD BETHPAGE, NY 11804

                  MERRICK BK
                  POB 9201
                  OLD BETHPAGE, NY 11804

                  1ST NTL BK OF MARIN CARD
                  POB 98872
                  LAS VEGAS, NV 89193

                  FIRST PREMIER CREDITCA
                  601 S MINNESOTA AVE
                  SIOUX FALLS, SD 57104

                  FST PREMIER
                  3820 N LOUISE AVE
                  SIOUX FALLS, SD 57107

                  DEL-ONE FCU
                  270 BEISER BLVD
                  DOVER, DE 19904




	  

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Debtor: ______________________________
         Shelley Wilgus
                                                         Case No. ________________


                  DEL-ONE FEDERAL CU
                  150 E WATER ST
                  DOVER, DE 19901

                  CAPITAL ONE auto
                  PO BOX 85520
                  RICHMOND, VA 23285

                  CAPITAL 1 BK
                  11013 W BROAD ST
                  GLEN ALLEN, VA 23060

                  DISCOVER FINANCIAL SERVI
                  POB 15316
                  WILMINGTON, DE 19850

                  DISCOVER FINANCIAL SVC
                  PO BOX 15316
                  WILMINGTON, DE 19850

                  NATIONWIDE
                  5503 CHEROKEE AV SUITE 200
                  ALEXANDRIA, VA 22312

                  BAY AREA REC
                  714 EASTERN SHORE DR
                  SALISBURY, MD 21801

                  FST COLLECT
                  PO BOX 102
                  LEWES, DE 19958

                  BAY AREA RECEIVABLES
                  714 EASTERN SHORES DR
                  SALISBURY, MD 21804

                  MOBILOANSLLC
                  PO BOX 1409
                  None
                  MARKSVILLE, LA 71351




	  

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Debtor: ______________________________
         Shelley Wilgus
                                                         Case No. ________________


                  CashNetUSA
                  175 West Jackson
                  Suite 1000
                  CHICAGO, IL 60604

                  Big Picture Loans
                  P.O. Box 704
                  WATERSMEET, MI 49969

                  EZ Loans, Inc.
                  28544 DuPont Blvd., Unit 11
                  MILLSBORO, DE 19966

                  Rise Credit
                  PO Box 101808
                  FORT WORTH, TX 76185

                  Bayhealth
                  522 South State Street
                  DOVER, DE 19901

                  Bayside Health Assn
                  1535 Savannah Road
                  LEWES, DE 19958

                  MLR Solutions
                  PO Box 824
                  MALVERN, PA 19355

                  Bayhealth
                  PO BOX 822105
                  PHILADELPHIA, PA 19182

                  Capital One Bank
                  PO Box 60500
                  CITY OF INDUSTRY, CA 91716

                  Capital One Bank USA
                  PO BOX 71083
                  CHARLOTTE, NC 28272




	  

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Debtor: ______________________________
         Shelley Wilgus
                                                          Case No. ________________


                  Kent Diagnostic Radiology Assoc. PA
                  PO Box 1206
                  NEPTUNE, NJ 07754

                  Pensula Imaging, LLC
                  918 Eastern Shore Drive
                  SALISBURY, MD 21804

                  Bayhealth Physicians
                  PO Box 822639
                  PHILADELPHIA, PA 19182

                  First Collection, Inc.
                  PO BOX 102
                  LEWES, DE 19958

                  Dr. Michael Tilghman
                  1324 Belmont Ave., Suite 104
                  SALISBURY, MD 21804

                  Doctors Pathology Services
                  PO Box 371863

                  PITTSBURGH, PA 15250

                  Nationwide Credit Corp.
                  PO Box 9156
                  ALEXANDRIA, VA 22304

                  Atlantic Plastic Surgery
                  106 Milford Street, Ste. 307
                  SALISBURY, MD 21804

                  Beebe Physician Network, Inc.
                  PO Box 12283
                  BELFAST, ME 04915

                  Allied Diagnostic Pathology
                  PO BOX 371863
                  PITTSBURGH, PA 15250




	  

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Debtor: ______________________________
         Shelley Wilgus
                                                          Case No. ________________


                  Mary Marshall
                  PO Box 665
                  TYLERTON, MD 21866

                  GMFINANCIAL
                  PO BOX 181145
                  None
                  ARLINGTON, TX 76096

                  AMCOL CLMBIA
                  PO BOX 21625
                  None
                  COLUMBIA, SC 29221

                  DirectTV
                  P.O. Box 6550
                  ENGLEWOOD, CO 80155

                  Janet Jestice
                  14984 Laurel Road
                  LAUREL, DE 19956

                  NCB Management Services, Inc.
                  PO Box 1099
                  LANGHORNE, PA 19047

                  Rushmore Service Center
                  PO Box 5508
                  SIOUX FALLS, SD 57117




	  

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